    Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 1 of 67 Page ID #1




                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


    JANICE GAUDREAULT
    INDIVIDUALLY AND AS PERSONAL
    REPRESENTATIVE OF THE ESTATE                             Civil Action No.: 3:24-pq-01529-njr
    OF DONALD GAUDREAULT;

          Plaintiff,

    vs.

    SYNGENTA AG, and SYNGENTA CROP
    PROTECTION LLC

          Defendants.


                                            COMPLAINT


          Plaintiff JANICE GAUDREAULT individually and as Personal Representative of the

Estate of DONALD GAUDREAULT (‘Plaintiff’), complaining of Defendants SYNGENTA

AG, and SYNGENTA CROP PROTECTION LLC, files this Complaint directly into MDL No.

3004 in the United States District Court for the Southern District of Illinois. Plaintiff files this

Complaint as permitted by Case Management Order No. 1 (Doc. #16) and allege as follows:

                               I.       SUMMARY OF THE CASE

          1.     Paraquat is a synthetic chemical compound 1 that since the mid-1960s has been

developed, registered, manufactured, distributed, sold for use, and used as an active ingredient

in herbicide products (“paraquat”) developed, registered, formulated, distributed, and sold for

use in the United States, including the State of Nebraska.

          2.     Defendants are companies and successors-in-interest to companies that

manufactured, distributed, and sold paraquat for use in Nebraska, acted in concert with others



1
 Paraquat dichloride (EPA Pesticide Chemical Code 061601) or paraquat methosulfate (EPA Pesticide Chemical
Code 061602).


                                                    1
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 2 of 67 Page ID #2




who manufactured, distributed, and sold paraquat for use in Nebraska, sold and used paraquat

in Nebraska, or owned property in Nebraska where paraquat was used.

       3.      Donald Gaudreault, decedent, was exposed in Nebraska to ICI-Chevron

paraquat products and/or ICI-Syngenta paraquat products (collectively “Defendants’ paraquat

products” or “paraquat”).

       4.      Donald Gaudreault, decedent, was exposed to Defendants’ paraquat products

regularly and frequently over a period of many years.

       5.      This case arises out of Defendants’ wrongful conduct in connection with the

design, development, manufacturing, testing, packaging, promoting, marketing, advertising,

distribution, and sale of paraquat, the active ingredient in herbicide products that cause

Parkinson’s Disease (“PD”). As such, paraquat is dangerous to human health and unfit to be

marketed and sold in commerce, particularly without proper warnings and directions as to the

dangers associated with its use.

       6.      Donald Gaudreault, decedent, suffered from neurological injuries consistent

with Parkinson’s disease.

       7.      Janice Gaudreault, Personal Representative of the Estate of Donald Gaudreault,

Plaintiff, brings this suit against Defendants to recover damages for personal injuries

resulting from Plaintiff’s exposure to paraquat over many years in Nebraska.

                                      II.     PARTIES

   A. Plaintiff

       8.      Plaintiff Donald Gaudreault, decedent, was a citizen and resident of the State of

Utah who suffered neurological injuries consistent with Parkinson’s disease (“PD”) caused by

exposure to paraquat within the State of Nebraska.

       9.      Plaintiff Janice Gaudreault as Personal Representative of the Estate of Donald

Gaudreault is a citizen and resident of the State of Utah and at all relevant times has been the



                                               2
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 3 of 67 Page ID #3




spouse of Donald Gaudreault, Decedent.

   B. Defendants

       10.     Defendant Syngenta Crop Protection LLC (“SCPLLC”) is a Delaware company

with its principal place of business in Greensboro, North Carolina. SCPLLC is a wholly owned

subsidiary of Defendant Syngenta AG.

       11.     SCPLLC advertises, promotes, markets, sells, and distributes Paraquat and

other herbicides and pesticides to distributors, dealers, applicators, and farmers, including in

the State of Nebraska.

       12.     Defendant Syngenta AG (“SAG”) is a corporation organized and existing under

the laws of Switzerland with its principal place of business at Schwarzwaldallee 215, 4058

Basel-Stadt, Switzerland. SAG was formed in 2000 as a result of the merger of Novartis

Agribusiness and Zeneca Agrochemicals. SAG was a publicly traded company on the Swiss

stock exchange; American Depositary Receipts for SAG were traded on the New York Stock

Exchange until it was acquired by ChemChina, a Chinese state-owned entity, in 2017. It has

since been de-listed. On information and belief, SAG continues to operate as a separate unit of

ChemChina. SAG wholly owns, through its ownership of Syngenta Seeds, SCPLLC.

       13.     SAG represents itself as a global company. According to Syngenta’s website,

SAG’s Board of Directors “has full and effective control of the company and holds ultimate

responsibility for the company strategy.”

       14.     One or more members of SAG’s Board of Directors or the Executive

Committee established by the Board of Directors also serve as member(s) of the Board of

Directors of SCPLLC and/or Syngenta Seeds.

       15.     SAG’s Executive Committee formulates and coordinates the global strategy for

Syngenta businesses, and maintains central corporate policies requiring Syngenta subsidiaries,

including SCPLLC, to operate under the general guidance of the Syngenta group control



                                               3
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 4 of 67 Page ID #4




        16.      Employees of the Syngenta group as a whole maintain reporting relationships

that are not defined by legal, corporate relationships, but in fact cross those corporate lines.

        17.      SCPLLC is subject to additional oversight that requires it to seek approval for

certain decisions from higher levels within the functional reporting structure -- including, in

some instances, Syngenta AG. SCPLLC’s appointments of senior management personnel also

may require, in some instances, approval from individuals or governing bodies that are higher

than SCPLLC’s board of directors.

        18.      Also, Syngenta AG maintains a central global finance function that governs

SCPLLC, which requires SCPLLC to function under the Syngenta AG umbrella and not

independently.

        19.      In addition, SCPLLC regularly refers to itself as “Syngenta,” with no further

description.

                            III.    JURISDICTION AND VENUE

        20.      This Court has subject-matter jurisdiction over this action under 28 U.S.C. §

1332 because there is complete diversity of the Plaintiff and Defendants. Defendants are all

either incorporated and/or have their principal place of business outside of the state in which

the Plaintiff resides. The matter in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs.

        21.      This Court has personal jurisdiction over SCPLLC because SCPLLC transacts

business in the Southern District of Illinois and in the State of Nebraska and is a corporation

doing business within the Southern District of Illinois as well as within the State of Nebraska.

SCPLLC knows that its paraquat products are and were sold throughout the State of Illinois

and the State of Nebraska. In addition, SCPLLC maintains sufficient contacts with both states

such that this Court’s exercise of personal jurisdiction over it does not offend traditional

notions of fair play and substantial justice. Specific to this case, SCPLLC engaged in the



                                                4
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 5 of 67 Page ID #5




business of developing, manufacturing, testing, packaging, marketing, distributing, and

labeling pesticides containing paraquat in the State of Illinois and in the State of Nebraska, and

making a lawsuit by a person injured by paraquat in either Illinois or Nebraska foreseeable.

SCPLLC purposefully availed itself of the privilege of conducting activities within this

District, thus invoking the benefits and protections of its laws.

        22.     In 2011, the U.S. District Court for the Southern District of Illinois held that

SAG’s unusually high degree of control made Syngenta Crop Protection the agent or alter ego

of SAG and therefore subjected SAG to jurisdiction in the State of Illinois. See City of

Greenville, Ill. v. Syngenta Crop Prot., Inc., 830 F. Supp. 2d 550 (S.D. Ill. 2011).

        23.     This Court has personal jurisdiction over SAG because, for the reasons alleged

above, the jurisdictional contacts of SCPLLC in this state are attributable to SAG because of

the unusually high degree of control SAG exercises over these subsidiaries. In addition, on

information and belief, SAG and SCPLLC acted in concert under agreements or other

arrangements to act in a collective manner and/or as joint venturers regarding the actions and

events made the subject of this Complaint. SAG and SCPLLC are therefore jointly and

severally liable for the acts for which the Plaintiff complains.

        24.     Venue is proper in the DISTRICT OF NEBRASKA under 28 U.S.C. § 1391

because Defendants conduct business in this District, are subject to jurisdiction in this District,

and have sold, marketed, and/or distributed Paraquat products within this District at all times

relevant to this suit, because a substantial part of the acts or occurrences giving rise to this suit

occurred within this District.

        25.     Notwithstanding, this Complaint is filed in the Southern District of Illinois

pursuant to Case Management Order No. 1 of MDL No. 3004, In re: Paraquat Products

Liability Litigation, allowing cases that would be subject to transfer to the MDL to be filed

directly in the Southern District of Illinois. In re: Paraquat Products Liability Litigation, 3:21-



                                                  5
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 6 of 67 Page ID #6




md-03004-NJR, ECF Document #16. This complaint alleges injury due to paraquat, is subject

to jurisdiction of the federal courts due to the diversity of the parties and is subject to transfer

pursuant to 28 U.S.C. § 1407 and the transfer order of the Judicial Panel on Multidistrict

Litigation. In re: Paraquat Products Liability Litigation, 544 F. Supp. 3d 1373, 2021 WL

2369295 (J.P.M.L. June 7, 2021). However, it is not intended as a waiver of any rights relating

to Lexecon, venue, or choice of law. Plaintiff expressly reserves any Lexecon rights or rights

relating to venue or choice of law.

          IV.     TOLLING OF APPLICABLE STATUTE OF LIMITATIONS

        A.      Discovery Rule Tolling

        26.     Janice Gaudreault, individually and as a Personal Representative of the Estate

of Donald Gaudreault, did not know and had no way of knowing about the risk of serious

illness associated with exposure to paraquat until sometime after August 2022.

        27.     Within the time period of any applicable statutes of limitations, Plaintiff could

not have discovered, through the exercise of reasonable diligence, that exposure to paraquat is

injurious to human health.

        28.     Janice Gaudreault, individually and as a Personal Representative of the Estate

of Donald Gaudreault, did not discover and did not know the facts that would cause a

reasonable person to suspect the risks associated with exposure to paraquat; nor would a

reasonable and diligent investigation by Plaintiff have disclosed that paraquat would cause or

had caused Donald Gaudreault’s injuries.

        29.     For these reasons, all applicable statutes of limitations have been tolled by

operation of the discovery rule with respect to Plaintiff’s claims.

        B.      Fraudulent Concealment Tolling

        30.     All applicable statutes of limitations have also been tolled by Defendants’

knowing and active fraudulent concealment and denial of the facts alleged herein throughout



                                                 6
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 7 of 67 Page ID #7




the time period relevant to this action.

       31.       Instead of disclosing critical safety information about paraquat, Defendants

consistently and falsely represented the safety of paraquat and those false representations

prevented Plaintiff from discovering this claim.

       C.        Estoppel

       32.       Defendants were under a continuous duty to disclose to consumers, users, and

other persons coming into contact with its products, including Donald Gaudreault, decedent,

accurate safety information concerning its products and the risks associated with the use of

and/or exposure to paraquat.

       33.       Instead, Defendants knowingly, affirmatively, and actively concealed safety

information concerning paraquat and the serious risks associated with the use of and/or

exposure to its products.

       34.       Based on the foregoing, Defendants are estopped from relying on any statutes

of limitations in defense of this action.

            V.     ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

       A.        Defendants and their predecessors.

                  1. Syngenta Crop Protection LLC and Syngenta AG

      35.        In 1926, four British chemical companies merged to create the British company

that then was known as Imperial Chemical Industries Ltd. and ultimately was known as

Imperial Chemical Industries PLC (“ICI”).

        36.      In or about 1971, ICI created or acquired a wholly owned U.S. subsidiary

 organized under the laws of the State of Delaware, which at various times was known as Atlas

 Chemical Industries Inc., ICI North America Inc., ICI America Inc., and ICI United States Inc.,

 and ultimately was known as ICI Americas Inc. (collectively “ICI Americas”).

        37.      In or about 1992, ICI merged its pharmaceuticals, agrochemicals, and specialty



                                                7
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 8 of 67 Page ID #8




 chemicals businesses, including the agrochemicals business it had operated at one time through

 a wholly owned British subsidiary known as Plant Protection Ltd. and later as a division within

 ICI, into a wholly owned British subsidiary known as ICI Bioscience Ltd.

       38.     In 1993, ICI demerged its pharmaceuticals, agrochemicals, and specialty

 chemicals businesses, from which it created the Zeneca Group, with the British company

 Zeneca Group PLC as its ultimate parent company.

       39.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Bioscience

 Ltd. was demerged from ICI and merged into, renamed, or continued its business under the

 same or similar ownership and management as Zeneca Ltd., a wholly owned British subsidiary

 of Zeneca Group PLC.

       40.     Before ICI’s demerger and creation of the Zeneca Group, ICI had a Central

 Toxicology Laboratory that performed and hired others to perform health and safety studies

 that were submitted to the U.S. Department of Agriculture (“USDA”) and the U.S.

 Environmental Protection Agency (“EPA”) to secure and maintain the registration of paraquat

 and other pesticides for use in the United States.

       41.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI’s Central

 Toxicology Laboratory became Zeneca Ltd.’s Central Toxicology Laboratory.

       42.     After ICI’s demerger and creation of the Zeneca Group, Zeneca Ltd.’s Central

Toxicology Laboratory continued to perform and hire others to perform health and safety

studies that were submitted to EPA to secure and maintain the registration of paraquat and other

pesticides for use in the United States.

       43.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Americas

was demerged from ICI and merged into, renamed, or continued its business under the same

or similar ownership and management as Zeneca, Inc. (“Zeneca”), a wholly owned subsidiary

of Zeneca Group PLC organized under the laws of the State of Delaware.



                                                8
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 9 of 67 Page ID #9




       44.    In 1996, the Swiss pharmaceutical and chemical companies Ciba-Geigy Ltd.

and Sandoz AG merged to create the Novartis Group, with the Swiss company Novartis AG as

the ultimate parent company.

       45.    As a result of the merger that created the Novartis Group, Ciba-Geigy

Corporation, a wholly owned subsidiary of Ciba-Geigy Ltd. organized under the laws of the

State of New York, was merged into or continued its business under the same or similar

ownership and management as Novartis Crop Protection, Inc. (“NCPI”), a wholly owned

subsidiary of Novartis AG organized under the laws of the State of Delaware.

       46.    In 1999, the Swedish pharmaceutical company Astra AB merged with Zeneca

Group PLC to create the British company AstraZeneca PLC, of which Zeneca Ltd. and Zeneca

were wholly owned subsidiaries.

       47.    In 2000, Novartis AG and AstraZeneca PLC spun off and merged the Novartis

Group’s crop protection and seeds businesses and AstraZeneca’s agrochemicals business to

create the Syngenta Group, a global group of companies focused solely on agribusiness, with

Defendant Syngenta AG (“SAG”) as the ultimate parent company.

       48.    As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd. was merged into, renamed, or continued its business under the

same or similar ownership and management as Syngenta Ltd., a wholly owned British

subsidiary of SAG.

       49.    As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd.’s Central Toxicology Laboratory became Syngenta Ltd.’s

Central Toxicology Laboratory.

       50.    Since the Novartis/AstraZeneca spinoff and merger that created the Syngenta

Group, Syngenta Ltd.’s Central Toxicology Laboratory has continued to perform and hire

others to perform health and safety studies for submission to the EPA to secure and maintain



                                             9
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 10 of 67 Page ID #10




the registration of paraquat and other pesticides for use in the United States.

       51.        As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, NCPI and Zeneca were merged into and renamed, or continued to do their

business under the same or similar ownership and management, as Syngenta Crop Protection,

Inc. (“SCPI”), a wholly owned subsidiary of SAG organized under the laws of the State of

Delaware.

       52.        In 2010, SCPI was converted into Defendant Syngenta Crop Protection LLC

(“SCPLLC”), a wholly owned subsidiary of SAG organized and existing under the laws of the

State of Delaware with its principal place of business in Greensboro, North Carolina.

       53.        SAG is a successor in interest to the crop-protection business of its corporate

predecessor Novartis AG.

       54.        SAG is a successor in interest to the crop-protection business of its corporate

predecessor AstraZeneca PLC.

       55.        SAG is a successor in interest to the crop-protection business of its corporate

predecessor Zeneca Group PLC.

       56.        SAG is a successor in interest to the crop-protection business of its corporate

predecessor Imperial Chemical Industries PLC, previously known as Imperial Chemical

Industries Ltd.

       57.        SAG is a successor in interest to the crop-protection business of its corporate

predecessor ICI Bioscience Ltd.

       58.        SAG is a successor in interest to the crop-protection business of its corporate

predecessor Plant Protection Ltd.

       59.        SCPLLC is a successor in interest to the crop-protection business of its

corporate predecessor SCPI.

       60.        SCPLLC is a successor in interest to the crop-protection business of its



                                                 10
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 11 of 67 Page ID #11




corporate predecessor NCPI.

       61.      SCPLLC is a successor in interest to the crop-protection business of its

corporate predecessor Ciba-Geigy Corporation.

       62.      SCPLLC is a successor in interest to the crop-protection business of its

corporate predecessor Zeneca Inc.

       63.      SCPLLC is a successor by merger or continuation of business to its corporate

predecessor ICI Americas Inc., previously known as Atlas Chemical Industries Inc., ICI North

America Inc., ICI America Inc., and ICI United States Inc.

       64.      SCPLLC does substantial business in the State of Nebraska, including the

following:

             a. markets, advertises, distributes, sells, and delivers paraquat and other pesticides
                to distributors, dealers, applicators, and farmers in the State of Nebraska;

             b. secures and maintains the registration of paraquat and other pesticides with the
                EPA and the State of Nebraska to enable itself and others to manufacture,
                distribute, sell, and use these products in the State of Nebraska; and

             c. performs, hires others to perform, and funds or otherwise sponsors or otherwise
                funds the testing of pesticides in the State of Nebraska.

       65.      SAG is a foreign corporation organized and existing under the laws of

Switzerland, with its principal place of business in Basel, Switzerland.

       66.      SAG is a holding company that owns stock or other ownership interests, either

directly or indirectly, in other Syngenta Group companies, including SCPLLC.

       67.      SAG is a management holding company.

       68.      Syngenta Crop Protection AG (“SCPAG”), a Swiss corporation with its

principal place of business in Basel, Switzerland, is one of SAG’s direct, wholly owned

subsidiaries.

       69.      SCPAG employs the global operational managers of production, distribution,

and marketing for the Syngenta Group’s Crop Protection (“CP”) and Seeds Divisions.



                                                 11
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 12 of 67 Page ID #12




       70.      The Syngenta Group’s CP and Seeds Divisions are the business units through

which SAG manages its CP and Seeds product lines.

       71.      The Syngenta Group’s CP and Seeds Divisions are not and have never been

corporations or other legal entities.

       72.      SCP AG directly and wholly owns Syngenta International AG (“SIAG”).

       73.      SIAG is the “nerve center” through which SAG manages the entire Syngenta

       Group.

       74.      SIAG employs the “Heads” of the Syngenta Group’s CP and Seeds Divisions.

       75.      SIAG also employs the “Heads” and senior staff of various global functions of

the Syngenta Group, including Human Resources, Corporate Affairs, Global Operations,

Research and Development, Legal and Taxes, and Finance.

       76.      Virtually all of the Syngenta Group’s global “Heads” and their senior staff are

housed in the same office space in Basel, Switzerland.

       77.      SAG is the indirect parent of SCPLLC through multiple layers of corporate

ownership:

             a. SAG directly and wholly owns Syngenta Participations AG;

             b. Syngenta Participations AG directly and wholly owns Seeds JV C.V.;

             c. Seeds JV C.V. directly and wholly owns Syngenta Corporation;

             d. Syngenta Corporation directly and wholly owns Syngenta Seeds, LLC;

             e. Syngenta Seeds, LLC directly and wholly owns SCPLLC.

       78.      Before SCPI was converted to SCPLLC, it was incorporated in Delaware, had

its principal place of business in North Carolina, and had its own board of directors.

       79.      SCPI’s sales accounted for more than 47% of the sales for the entire Syngenta

Group in 2019.

       80.      SAG has purposefully organized the Syngenta Group, including SCPLLC, in



                                               12
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 13 of 67 Page ID #13




such a way as to attempt to evade the authority of courts in jurisdictions in which it does

substantial business.

       81.      Although the formal legal structure of the Syngenta Group is designed to

suggest otherwise, SAG in fact exercises an unusually high degree of control over its country-

specific business units, including SCPLLC, through a “matrix management’’ system of

functional reporting to global “Product Heads” in charge of the Syngenta Group’s

unincorporated Crop Protection and Seeds Divisions, and to global “Functional Heads” in

charge of human resources, corporate affairs, global operations, research and development,

legal and taxes, and finance.

       82.      The lines of authority and control within the Syngenta Group do not follow its

formal legal structure, but instead follow this global “functional” management structure.

       83.      SAG controls the actions of its far-flung subsidiaries, including SCPLLC,

through this global “functional” management structure.

       84.      SAG’s board of directors has established a Syngenta Executive Committee

(“SEC”), which is responsible for the active leadership and the operative management of the

Syngenta Group, including SPLLC.

       85.      The SEC consists of the CEO and various global Heads, which currently are:

             a. The Chief Executive Officer;

             b. Group General Counsel;

             c. The President of Global Crop Protection;

             d. The Chief Financial Officer;

             e. The President of Global Seeds; and

             f. The Head of Human Resources;

       86.      SIAG employs all of the members of the Executive Committee.

       87.      Global Syngenta Group corporate policies require SAG subsidiaries, including



                                               13
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 14 of 67 Page ID #14




SPLLC, to operate under the direction and control of the SEC and other unincorporated global

management teams.

       88.     SAG’s board of directors meets five to six times a year.

       89.     In contrast, SCPI’s board of directors rarely met, either in person or by

telephone, and met only a handful of times over the last decade before SCPI became SCPLLC.

       90.     Most, if not all, of the SCPI board’s formal actions, including selecting and

removing SCPI officers, were taken by unanimous written consent pursuant to directions from

the SEC or other Syngenta Group global or regional managers that were delivered via e-mail

to SCPI board members.

       91.     Since SCPI became SCPLLC, decisions that are nominally made by the board

or managers of SCPLLC in fact continue to be directed by the SEC or other Syngenta Group

global or regional managers.

       92.     Similarly, Syngenta Seeds, Inc.’s board of directors appointed and removed

SCPI board members at the direction of the SEC or other Syngenta Group global or regional

managers.

       93.     Since SCPI became SCPLLC, the appointment and removal of the manager(s)

of SCPLLC continues to be directed by the SEC or other Syngenta Group global or regional

managers.

       94.     The management structure of the Syngenta Group’s CP Division, of which

SCPLLC is a part, is not defined by legal, corporate relationships, but by functional reporting

relationships that disregard corporate boundaries.

       95.     Atop the CP Division is the CP Leadership Team (or another body with a

different name but substantially the same composition and functions), which includes the

President of Global Crop Protection, the CP region Heads (including SCPLLC President Vern

Hawkins), and various global corporate function Heads.



                                              14
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 15 of 67 Page ID #15




       96.     The CP Leadership Team meets bi-monthly to develop strategy for new

products, markets, and operational efficiencies and to monitor performance of the Syngenta

Group’s worldwide CP business.

       97.     Under the CP Leadership Team are regional leadership teams, including the

North America Regional Leadership Team (or another body with a different name but

substantially the same composition and functions), which oversees the Syngenta Croup’s U.S.

and Canadian CP business (and when previously known as the NAFTA Regional Leadership

Team, also oversaw the Syngenta Group’s Mexican CP business).

       98.     The North America Regional Leadership Team is chaired by SCPLLC’s

president and includes employees of SCPLLC and the Syngenta Group’s Canadian CP

company (and when previously known as the NAFTA Regional Leadership Team, also

included employees of the Syngenta Group’s Mexican CP company).

       99.     The Syngenta Group’s U.S. and Canadian CP companies, including SCPLLC,

report to the North America Regional Leadership Team, which reports the CP Leadership

Team, which reports to the SEC, which reports to SAG’s board of directors.

       100.    Some members of the North America Regional Leadership Team, including

some SCPLLC employees, report or have in the past reported not to their nominal superiors

within the companies that employ them, but directly to the Syngenta Group’s global Heads.

       101.    Syngenta Group global Heads that supervise SCPLLC employees participate

and have in the past participated in the performance reviews of these employees and in setting

their compensation.

       102.    The Syngenta Group’s functional reporting lines have resulted in employees of

companies, including SCPLLC, reporting to officers of remote parent companies, officers of

affiliates with no corporate relationship other than through SAG, or officers of subsidiary

companies.



                                              15
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 16 of 67 Page ID #16




        103.    SCPLLC performs its functions according to its role in the CP Division

structure:

             a. CP Division development projects are proposed at the global level, ranked and
                funded at the global level after input from functional entities such as the CP
                Leadership Team and the North America Regional Leadership Team, and given
                final approval by the SEC;

             b. New CP products are developed by certain Syngenta Group companies or
                functional groups that manage and conduct research and development functions
                forthe entire CP Division.
             c. These products are then tested by other Syngenta Group companies, including
                SCPLLC, under the direction and supervision of the SEC, the CP Leadership
                Team,or other Syngenta Group global managers;

             d. Syngenta Group companies, including SCPLLC, do not contract with or
                compensate each other for this testing;

             e. Rather, the cost of such testing is included in the testing companies’ operating
                budgets, which are established and approved by the Syngenta Group’s global
                product development managers and the SEC;

             f. If a product shows promise based on this testing and the potential markets for
                the product, either global or regional leaders (depending on whether the target
                market is global or regional), not individual Syngenta Group companies such
                as SCPLLC, decide whether to sell the product;

             g. Decisions to sell the product must be approved by the SEC; and

             h. The products that are sold all bear the same Syngenta trademark and logo.

        104.    SCPLLC is subject to additional oversight and control by Syngenta Group

global managers through a system of “reserved powers” established by SAG and applicable to

all Syngenta Group companies.

        105.    These “reserved powers” require Syngenta Croup companies to seek approval

for certain decisions from higher levels within the Syngenta Group’s functional reporting

structure.

        106.    For example, although SAG permits Syngenta Croup companies to handle

small legal matters on their own, under the “reserved powers” system, SAG’s Board of

Directors must approve settlements of certain types of lawsuits against Syngenta Group



                                               16
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 17 of 67 Page ID #17




companies, including SCPLLC, if their value exceeds an amount specified in the “reserved

powers.”

         107.   Similarly, the appointments of senior managers at SCPLLC must be approved

by higher levels than SCPLLC’s own management, board of directors, or even its direct legal

owner.

         108.   Although SCPLLC takes the formal action necessary to appoint its own senior

managers, this formal action is in fact merely the rubber-stamping of decisions that have

already been made by the Syngenta Group’s global management.

         109.   Although SAG subsidiaries, including SCPLLC, pay lip service to legal

formalities that give the appearance of authority to act independently, in practice many of their

acts are directed or pre-approved by the Syngenta Group’s global management.

         110.   SAG and the global management of the Syngenta Group restrict the authority

of SCPLLC to act independently in areas including:

            a. Product development;

            b. Product testing (among other things, SAG and the global management of the
               Syngenta Group require SCPLLC to use Syngenta Ltd.’s Central Toxicology
               Laboratory to design, perform, or oversee product safety testing that SCPLLC
               submits to the EPA in support of the registrations of paraquat and other
               pesticides);

            c. Production;

            d. Marketing;

            e. Sales;

            f. Human resources;

            g. Communications and public affairs;

            h. Corporate structure and ownership;

            i. Asset sales and acquisitions;

            j. Key appointments to boards, committees and management positions;



                                               17
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 18 of 67 Page ID #18




            k. Compensation packages;

            l. Training for high-level positions; and

            m. Finance (including day-to-day cash management) and tax.

        111.    Under the Syngenta Group’s functional management system, global managers

initiate, and the global Head of Human Resources oversees, international assignments and

compensation of managers employed by one Syngenta subsidiary to do temporary work for

another Syngenta subsidiary in another country. This international assignment program aims,

in part, to improve Syngenta Group-wide succession planning by developing corporate talent

to make employees fit for higher positions within the global Syngenta Group of companies.

        112.    Under this international assignment program, at the instance of Syngenta Group

global managers, SCPLLC officers and employees have been “seconded” to work at other SAG

subsidiaries, and officers and employees of other Syngenta Group subsidiaries have been

“seconded” to work at SCPLLC.

        113.    The Syngenta Group’s functional management system includes a central global

finance function—known as Syngenta Group Treasury—for the entire Syngenta Group.

        114.    The finances of all Syngenta Group companies are governed by a global

treasury policy that subordinates the financial interests of SAG’s subsidiaries, including

SCPLLC, to the interests of the Syngenta Group as a whole.

        115.    Under the Syngenta Group’s global treasury policy, Syngenta Group Treasury

controls daily cash sweeps from subsidiaries such as SCPLLC, holds the cash on account, and

lends it to other subsidiaries that need liquidity.

        116.    The Syngenta Group’s global treasury policy does not allow SAG subsidiaries

such as SCPLLC to seek or obtain financing from non-Syngenta entities without the approval

of Syngenta Group Treasury.

        117.    Syngenta Group Treasury also decides whether SCPLLC will issue a dividend



                                                 18
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 19 of 67 Page ID #19




or distribution to its direct parent company, and how much that dividend will be.

           118.    SCPLLC’s board or management approves dividends and distributions

mandated by Syngenta Group Treasury without any meaningful deliberation.

           119.    SAG, through its agent or alter ego, SCPLLC, does substantial business in the

State of Nebraska, in the ways previously alleged as to SCPLLC.

           B.      Paraquat manufacture, distribution, and sale

           120.    ICI, a legacy company of Syngenta, claims to have discovered the herbicidal

properties of paraquat in 1955. 2

           121.    The leading manufacturer of paraquat is Syngenta, which (as ICI) developed

the active ingredient in paraquat in the early 1960s.

           122.    ICI developed, researched, manufactured, and tested Paraquat through its

Central Toxicology Laboratory in the early 1960s and produced the first chemical paraquat

formulation, which it registered in England and introduced in certain markets under the brand

name GRAMOXONE®, in 1962.

           123.    ICI was awarded a U.S. patent on herbicide formulations containing paraquat

as an active ingredient in 1962.

           124.    Paraquat first became commercially available for use in the United States in

1964.

           125.    In or about 1964, ICI and Chevron Chemical entered into agreements regarding

the licensing and distribution of paraquat (“the ICI-Chevron Chemical Agreements”).

           126.    In or about 1971, ICI Americas became a party to the ICI-Chevron Chemical

Agreements on the same terms as ICI.

           127.    The ICI-Chevron Chemical Agreements were renewed or otherwise remained

in effect until about 1986.


2
    Sagar, G.R., Uses and Usefulness of Paraquat, Human Toxicology (1987) 6:1, 7-11.


                                                      19
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 20 of 67 Page ID #20




       128.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted

Chevron Chemical a license to their patents and technical information to permit Chevron

Chemical to formulate or have formulated, use, and sell paraquat in the United States and to

grant sub-licenses to others to do so.

       129.    In the ICI-Chevron Chemical Agreements, Chevron Chemical granted ICI and

ICI Americas a license to its patents and technical information to permit ICI and ICI Americas

to formulate or have formulated, use, and sell paraquat throughout the world and to grant sub-

licenses to others to do so.

       130.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas and Chevron

Chemical agreed to exchange patent and technical information regarding paraquat.

       131.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted

Chevron Chemical exclusive rights to distribute and sell paraquat in the United States.

       132.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted

Chevron Chemical a license to distribute and sell paraquat in the U.S. under the ICI-

trademarked brand name Gramoxone.

       133.    ICI and ICI Americas and Chevron Chemical entered into the ICI-Chevron

Chemical Agreements to divide the worldwide market for paraquat between them.

       134.    Under the ICI-Chevron Chemical Agreements, Chevron Chemical distributed

and sold paraquat in the U.S. and ICI and ICI Americas distributed and sold paraquat outside

the United States.

       135.    Under the ICI-Chevron Chemical Agreements and related agreements, both ICI

and ICI Americas and Chevron Chemical distributed and sold paraquat under the ICI-

trademarked brand name Gramoxone.

       136.    Under the ICI-Chevron Chemical Agreements, ICI and ICI Americas and

Chevron Chemical exchanged patent and technical information regarding paraquat.



                                              20
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 21 of 67 Page ID #21




       137.    Under the ICI-Chevron Chemical Agreements, ICI and ICI Americas provided

to Chevron Chemical health and safety and efficacy studies performed or procured by ICI’s

Central Toxicology Laboratory, which Chevron Chemical then submitted to the USDA and the

EPA to secure and maintain the registration of paraquat for manufacture, formulation,

distribution, and sale for use in the United States.

       138.    Under the ICI-Chevron Chemical Agreements and related agreements, ICI and

ICI Americas manufactured and sold paraquat to Chevron Chemical that Chevron Chemical

then distributed and sold in the United States, including in Nebraska, where Chevron Chemical

registered paraquat products with the State of Nebraska and marketed, advertised, and

promoted them to Nebraska distributors, dealers, applicators, and farmers.

       139.    Under the ICI-Chevron Chemical Agreements and related agreements, Chevron

Chemical distributed and sold paraquat in the United States under the ICI-trademarked brand

name Gramoxone and other names, including in Nebraska, where Chevron Chemical registered

such products with the State of Nebraska to enable them to be lawfully distributed, sold, and

used in Nebraska, and marketed, advertised, and promoted them to Nebraska distributors,

dealers, applicators, and farmers.

       140.    SAG and its corporate predecessors and others with whom they acted in concert

have submitted health and safety and efficacy studies to the USDA and the EPA to support the

registration of paraquat for manufacture, formulation, distribution, and sale for use in the

United States from about 1964 through the present.

       141.    SCPLLC and its corporate predecessors and others with whom they acted in

concert have manufactured, formulated, distributed, and sold paraquat for use in the United

States from about 1971 through the present, and at all relevant times intended or expected their

paraquat products to be distributed and sold in Nebraska, where they registered such products

with the State of Nebraska to enable them to be lawfully distributed, sold, and used in



                                                21
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 22 of 67 Page ID #22




Nebraska, and marketed, advertised, and promoted them to Nebraska distributors, dealers,

applicators, and farmers.

       142.    SCPLLC and its corporate predecessors and others with whom they acted in

concert have submitted health and safety and efficacy studies to the EPA to support the

registration of paraquat for manufacture, formulation, distribution, and sale for use in the U.S.

from about 1971 through the present.

       143.    From approximately September 1986 through the present, Syngenta has:

               a.      manufactured paraquat for use as an active ingredient in herbicides
                       formulated and distributed for sale and use in the United States,
                       including the State of Nebraska,

               b.      distributed paraquat for use as an active ingredient in herbicides
                       formulated and distributed for sale and use in the United States,
                       including the State of Nebraska;

               c.      formulated Paraquat products distributed for sale and use in the United
                       States, including the State of Nebraska; and

               d.      distributed Paraquat products for sale and use in the United States,
                       including the State of Nebraska.

       144.    Syngenta, through SCPLLC, is now the leading manufacturer of Paraquat,

which it sells under the brand name GRAMOXONE®. 3

       C.      Paraquat use

       145.    Since 1964, paraquat has been used in the United States to kill broadleaf weeds

and grasses before the planting or emergence of more than 100 field, fruit, vegetable, and

plantation crops, to control weeds in orchards, and to desiccate (dry) plants before harvest.

       146.    Paraquat products are commonly used multiple times per year on the same land,

particularly when used to control weeds in orchards or on farms with multiple crops planted

on the same land within a single growing season or year, and such use was as intended or


3
 Press Release, Federal Trade Commission, FTC Requires China National Chemical Corporation and
Syngenta AG to Divest U.S. Assets as Condition of Merger (April 4, 2017), https://www.ftc.gov/news-
events/press-releases/2017/04/ftc-requires-china-national-chemical-corporation-syngenta-ag.


                                                22
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 23 of 67 Page ID #23




directed or reasonably foreseeable.

         147.   Paraquat is typically sold by Defendants to end-users in the form of liquid

concentrates (and less commonly in the form of granular solids) designed to be diluted with

water before or after loading it into the tank of a sprayer and applied by spraying it onto target

weeds.

         148.   Paraquat concentrate is formulated with one or more “surfactants” to increase

the ability of the herbicide to stay in contact with the leaf, penetrate the leaf’s waxy surface,

and enter into plant cells, and the accompanying instructions typically told end-users to add a

surfactant or crop oil (which as typically formulated contains a surfactant) before use.

         149.   Paraquat products are typically with applied with a knapsack sprayer, hand-

held sprayer, aircraft (i.e., crop duster), truck with attached pressurized tank, or tractor-drawn

pressurized tank, and such use was as intended or directed or at least foreseeable.

         D.     Paraquat exposure

         150.   Each year, paraquat is applied to approximately 15 million acres of agricultural

crops, including corn, soybeans, wheat, cotton, fruit and vegetables, rice, orchards and grapes,

alfalfa, hay, and other crops. The following map demonstrates the nationwide use of paraquat

in recent years:




                                                23
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 24 of 67 Page ID #24




                             USGS, Pesticide National Synthesis Project (2020),
https://water.usgs.gov/nawqa/pnsp/usage/maps/show_map.php?year=2017&map=PARAQUAT&hilo=L&disp=
                                                Paraquat.



        151.    At all relevant times, it was reasonably foreseeable that when paraquat was used

in the manner intended or directed or in a reasonably foreseeable manner, users of paraquat

and persons nearby would be exposed to paraquat while it was being mixed and loaded into

the tanks of sprayers, including as a result of spills, splashes, and leaks.

       152.    At all relevant times, it was reasonably foreseeable that when paraquat was used

in the manner intended or directed or in a reasonably foreseeable manner, persons who sprayed

paraquat or were in or near areas where it was being or recently had been sprayed would be

exposed to paraquat, including as a result of spray drift, the movement of herbicide spray

droplets from the target area to an area where herbicide application was not intended, typically

by wind, and as a result of contact with sprayed plants.

       153.    At all relevant times, it was reasonably foreseeable that when paraquat was used

in the manner intended or directed or in a reasonably foreseeable manner, users of paraquat

and persons nearby would be exposed to paraquat, including as a result of spills, splashes, and

leaks, while equipment used to spray it was being emptied or cleaned or clogged spray nozzles,


                                                24
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 25 of 67 Page ID #25




lines, or valves were being cleared.

       154.    At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via absorption through or penetration of the skin, mucous membranes, and other

epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and

conducting airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage

was present.

       155.    At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via respiration into the lungs, including the deep parts of the lungs where

respiration (gas exchange) occurred.

       156.    At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via ingestion into the digestive tract of small droplets swallowed after entering

the mouth, nose, or conducting airways.

       157.    At all relevant times, it was reasonably foreseeable that paraquat that entered

the human body via ingestion into the digestive tract could enter the enteric nervous system

(the part of the nervous system that governs the function of the gastrointestinal tract).

       158.    At all relevant times, it was reasonably foreseeable that paraquat that entered

the human body, whether via absorption, respiration, or ingestion, could enter the bloodstream.

       159.    At all relevant times, it was reasonably foreseeable that paraquat that entered

the bloodstream could enter the brain, whether through the blood-brain barrier or parts of the

brain not protected by the blood-brain barrier.

       160.    At all relevant times, it was reasonably foreseeable that paraquat that entered

the nose and nasal passages could enter the brain through the olfactory bulb (a part of the brain

involved in the sense of smell), which is not protected by the blood-brain barrier.

       E.      Parkinson’s disease

       161.    PD is a progressive neurodegenerative disorder of the brain that affects



                                                  25
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 26 of 67 Page ID #26




primarily the motor system, the part of the central nervous system that controls movement.

        162.   Scientists who study PD generally agree that fewer than 10% of all PD cases

are caused by inherited genetic mutations alone, and that more than 90% are caused by a

combination of environmental factors, genetic susceptibility, and the aging process.

                1. Symptoms and treatment

        163.   The characteristic symptoms of PD are its “primary” motor symptoms: resting

tremor (shaking movement when the muscles are relaxed), bradykinesia (slowness in voluntary

movement and reflexes), rigidity (stiffness and resistance to passive movement), and postural

instability (impaired balance).

        164.   PD’s primary motor symptoms often result in “secondary’’ motor symptoms

such as freezing of gait; shrinking handwriting; mask-like expression; slurred, monotonous,

quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty swallowing;

and excess saliva and drooling caused by reduced swallowing movements.

        165.   Non-motor symptoms-such as loss of or altered sense of smell; constipation;

low blood pressure on rising to stand; sleep disturbances; and depression-are present in most

cases of PD, often for years before any of the primary motor symptoms appear.

        166.   There is currently no cure for PD. No treatment will slow, stop, or reverse its

progression, and the treatments most-commonly prescribed for its motor symptoms tend to

become progressively less effective, and to cause unwelcome side effects, the longer they are

used.

                2. Pathophysiology

        167.   The selective degeneration and death of dopaminergic neurons (dopamine-

producing nerve cells) in a part of the brain called the substantia nigra pars compacta (“SNpc”)

is one of the primary pathophysiological hallmarks of PD.

        168.   Dopamine is a neurotransmitter (a chemical messenger that transmits signals



                                               26
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 27 of 67 Page ID #27




from one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s

control of motor function (among other things).

       169.    The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

       170.    Once dopaminergic neurons die, they are not replaced; when enough

dopaminergic neurons have died, dopamine production falls below the level the brain requires

for proper control of motor function, resulting in the motor symptoms of PD.

       171.    The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the

primary pathophysiological hallmarks of PD.

       172.    Dopaminergic neurons are particularly susceptible to oxidative stress, a

disturbance in the normal balance between oxidants present in cells and cells’ antioxidant

defenses.

       173.    Scientists who study PD generally agree that oxidative stress is a major factor

in— if not the precipitating cause of—the degeneration and death of dopaminergic neurons in

the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons that

are the primary pathophysiological hallmarks of PD.

       F.      Paraquat’s toxicity

       174.    Paraquat is highly toxic to both plants and animals.

       175.    Paraquat is designed to injure and kill plants by creating oxidative stress, which

causes or contributes to cause the degeneration and death of plant cells.

       176.    Paraquat injures and kills humans by creating oxidative stress that causes or

contributes to cause the degeneration and death of animal cells.

       177.    Paraquat creates oxidative stress in the cells of plants and animals because of

“redox properties” that are inherent in its chemical composition and structure: it is a strong



                                               27
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 28 of 67 Page ID #28




oxidant, and it readily undergoes “redox cycling” in the presence of molecular oxygen, which

is plentiful in living cells.

        178.    The redox cycling of paraquat in living cells interferes with cellular functions

that are necessary to sustain life—photosynthesis in the case of plant cells and cellular

respiration in the case of animal cells.

        179.    The redox cycling of paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can initiate a cascading series

of chemical reactions that creates other reactive oxygen species that damage lipids, proteins,

and nucleic acids—molecules that are essential components of the structures and functions of

living cells.

        180.    Because the redox cycling of paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of paraquat can trigger the production of

countless molecules of destructive superoxide radical.

        181.    Paraquat’s redox properties have been known within the scientific community

since at least the 1930s.

        182.    The same oxidation and redox potentials that make paraquat highly toxic to

plant cells and other types of animal cells make Paraquat highly toxic to nerve cells, including

dopaminergic neurons, and create a substantial risk to all persons exposed to paraquat.

        183.    The surfactants with which the concentrates containing paraquat manufactured,

distributed, and sold by Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert typically were formulated were likely to increase paraquat’s

toxicity to humans by increasing its ability to stay in contact with or penetrate the skin, mucous

membranes, and other epithelial tissues, including tissues of the mouth, nose and nasal

passages, trachea, and conducting airways, the lungs, and the gastrointestinal tract.

        G.      Paraquat and Parkinson’s disease



                                               28
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 29 of 67 Page ID #29




        184.     The same redox properties that make paraquat toxic to plant cells and other

types of animal cells make it toxic to dopaminergic neurons—paraquat is a strong oxidant that

interferes with the function of, damages, and ultimately kills dopaminergic neurons by creating

oxidative stress through redox cycling.

        185.     Although PD is not known to occur naturally in any species other than humans,

PD research is often performed using “animal models,” in which scientists artificially produce

in laboratory animals’ conditions that show features of PD.

        186.     Paraquat is one of only a handful of toxins that scientists use to produce animal

models of PD.

        187.     In animal models of PD, hundreds of studies involving various routes of

exposure have found that paraquat creates oxidative stress that results in the degeneration and

death of dopaminergic neurons in the SNpc, other pathophysiology consistent with that seen

in human PD, and motor deficits and behavioral changes consistent with those commonly seen

in human PD.

        188.     Hundreds of in vitro studies have found that paraquat creates oxidative stress

that results in the degeneration and death of dopaminergic neurons (and many other types of

animal cells).

        189.     In 1994, Dr. Afonso Bainy published a study concluding that paraquat in vitro

exposure led to an increment in the anti-oxidant capacity of the red blood cell. 4

        190.     In 2002, Dr. Gabriele Schmuck published a study concluding that cortical

neurons were found to be more sensitive towards paraquat toxicity than astrocytes as shown

by MTT and Neutral Red assay, two different cytotoxicity assays. 5

        191.     In 2019, Dr. Liyan Hou published a study showing that paraquat and maneb

4
  Bainy, AC, et al, Influence of lindane and paraquat on oxidative stress-related parameters of erythrocytes in
vitro, Human & Experimental Toxicology (1994), 13:7 461-465.
5
  Schmuck, G, et al, Oxidative stress in rat cortical neurons and astrolytes induced by paraquat in vitro.
Neurotoxicity Research (2002) 4:1, 1-13.


                                                      29
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 30 of 67 Page ID #30




exposure induced ferroptosis, a form of regulated cell death, in SHSY5Y dopaminergic cells. 6

        192.     Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between paraquat exposure and PD, including

multiple studies finding a two- to five-fold or greater increase in the risk of PD in populations

with occupational exposure to paraquat compared to populations without such exposure.

        193.     In June 2011, Dr. Caroline Tanner published a study examining whether

pesticides that cause mitochondrial dysfunction or oxidative stress, including paraquat, were

associated with Parkinson’s Disease or clinical features of parkinsonism in humans. 7 The study

found that paraquat use plays a role in human Parkinson’s Disease and that “[b]ecause paraquat

remains one of the most widely used herbicide worldwide (Frabotta 2009), this finding

potentially has great public health significance.” 8

        194.     In November 2012, Dr. Samuel Goldman published a study entitled “Genetic

Modification of the Association of Paraquat and Parkinson’s Disease.” 9 The study found that

those who applied paraquat and had the GSTT1*0 genotype were 11.1 times more likely to

develop Parkinson’s disease. Paraquat damages neurons by generating oxidative stress through

redox cycling; the GSTT1 gene encodes an enzyme that prevents redox cycling. Around 20%

of Caucasians do not have the GSTT1 gene and thus have the GSTT1*0 genotype. The lack of

the GSTT1 gene may cause those with the GSTT1*0 genotype to be more vulnerable to

paraquat’s redox cycling mechanism and therefore more likely to develop Parkinson’s.

        195.     In July 2002, Dr. Alison McCormack published a study examining the effect of

paraquat on mice. 10 The study found that paraquat injections selectively kill dopaminergic


6
  Hou L, et al, NADPH oxidase regulates paraquat and maneb-induced dopaminergic neurodegeneration
through ferroptosis, Toxicology (2019), 1:417 64-73.
7
  Tanner, Caroline M., et al., Rotenone, paraquat, and Parkinson’s disease. 119 Environ Health Perspect. 866-
872 (2011).
8
  Id.
9
  Samuel M. Goldman et al., Genetic Modification of the Association of Paraquat and Parkinson’s Disease, 27
Mov.t Disord. 1652-1658 (2012).
10
   Alison L. McCormack et al., Environmental Risk Factors and Parkinson’s Disease: Selective Degeneration of
Dopaminergic Neurons Caused by the Herbicide Paraquat 10 Neurobiol. Dis. 119-127 (2002).


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Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 31 of 67 Page ID #31




neurons in the SNpc.

        196.     Dr. Robert Nisticó published a study in April 2011 that concluded that paraquat

causes the cell death of dopaminergic neurons within the substantia nigra, serotonergic neurons

within the raphe nuclei, and noradrenergic neurons within the locus coeruleus. 11 The

researchers noted that Parkinson’s pathology begins in the SNpc and “progressively involves

noradrenergic and serotonergic neurons within the locus coeruleus and raphe nuclei.”

        197.     In December 2011, Dr. Phillip Rappold published a study demonstrating how

paraquat entered dopaminergic neurons and killed the neurons through oxidative stress. 12

Paraquat converted to PQ+, which entered dopaminergic neurons through their dopamine

transporters. PQ+ then also reacted with dopamine, which enhanced the paraquat-induced

oxidative stress. The researchers argued that dopaminergic neurons are more vulnerable to

paraquat because PQ+ reacts with dopamine to increase oxidative stress.

        198.     In November 2012, Dr. Pei-Chen Lee published a study examining the

associations between traumatic brain injuries, Paraquat, and Parkinson’s disease. 13 The study

found an association between paraquat exposure and Parkinson’s.

        199.     In May 2013, Dr. Gianni Pezzoli published a meta-analysis examining seven

studies on paraquat exposure. 14 The meta-analysis evaluated the seven studies together and

separately evaluated the highest quality studies; in both analyses, those exposed to paraquat

were more likely to develop Parkinson’s disease.

        200.     In a memorandum from March 2, 2016, recommending mitigation measures for

Paraquat, the EPA acknowledged the numerous studies linking paraquat to Parkinson’s disease


11
   R. Nisticó et al., Paraquat- and Rotenone-Induced Models of Parkinson’s Disease, 24 Int. J. Immunopathol.
Pharmacol. 313-322 (2011).
12
   Phillip M. Rappold et al., Paraquat Neurotoxicity is Mediated by the Dopamine Transporter and Organic
Cation Tranpsorter-3, 108 Proc. Natl. Acad. Of Sci. U.S.A. 20766-20771 (2011).
13
   Pie-Chen Lee et al., Traumatic Brain Injury, Paraquat Exposure, and their Relationship to Parkinson
Disease, 79 Neurology 2061-2066 (2012).
14
   Gianni Pezzoli & Emanuele Cereda, Exposure to Pesticides or Solvents and Risk of Parkinson Disease, 80
Neurology 2035-2041 (2013).


                                                    31
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 32 of 67 Page ID #32




stating, “[t]here is a large body of epidemiology data on paraquat dichloride use and

Parkinson’s disease.” 15

         201.     The kidney is the main organ responsible for paraquat excretion and paraquat is

known to be highly nephrotoxic. Dermal exposure to paraquat has revealed inflammatory cell

infiltration, tubular necrosis and diffuse interstitial fibrosis. 16 Paraquat causes toxic chemical

reactions to occur in the kidneys, and long-term effects, including kidney failure, are possible. 17

         202.     Extensive exposure to Paraquat, like that experienced by Plaintiff, have been

shown to more than double the risk of end stage renal disease.

         203.     Switzerland, where SAG maintains its headquarters, has not only prohibited the

use of paraquat since 1989 but recently amended the law on chemical substances to prohibit

the export of paraquat to help protect the health and environment in importing countries,

particularly in the developing world. 18

         204.     The Ministry of Agriculture of the People’s Republic of China classifies

paraquat as extremely toxic. Paraquat’s use or sale in China has been prohibited since

September 1, 2020. 19

         205.     Paraquat use has been banned in the European Union since 2007. 20

         206.     Defendants had knowledge of these studies and the relationship between

paraquat exposure and PD but actively and fraudulently concealed this information from

Plaintiff and others.

15
   Environmental Protection Agency, Paraquat Dichloride; Proposed Mitigation Decision (March 2, 2016),
https://www.regulations.gov/document/EPA-HQ-OPP-2011-0855-0031.
16
   Tungsanga K, Chusilp S, Israsena S, Sitprija V. Paraquat poisoning: evidence of systemic toxicity after dermal
exposure. Postgrad Med J 1983; 59(691):338-9.dd
17
   Centers for Disease Control and Prevention, Facts About Paraquat,
https://emergency.cdc.gov/agent/paraquat/basics/facts.asp.
18
   Switzerland bans the export of five toxic chemicals, including paraquat, MercoPress (October 16, 2020 09:20
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                                                       32
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 33 of 67 Page ID #33




       H.      Paraquat regulation

       207.    The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C.§

136 et seq., which regulates the distribution, sale, and use of pesticides within the United

States, requires that pesticides be registered with the EPA prior to their distribution, sale, or

use, except as described by FIFRA. 7 U.S.C. 136a(a).

       208.    As part of the pesticide registration process, the EPA requires, among other

things, a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people

and other potential non-target organisms, and other adverse effects on the environment.

       209.    FIFRA generally requires that the registrant conduct health and safety testing

of pesticides. The government is not required to, nor does it generally, perform the product

tests that are required of the manufacturer.

       210.    FIFRA does not require the EPA to perform health and safety testing of

pesticides itself, and the EPA generally does not perform such testing.

       211.    The EPA registers (or re-registers) a pesticide if it believes, based largely on

studies and data submitted by the registrant, that:

            a. its composition is such as to warrant the proposed claims for it, 7 U.S.C. §
               136a(c)(5)(A);

            b. its labeling and other material required to be submitted comply with the
               requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B);

            c. it will perform its intended function without unreasonable adverse effects on
               the environment, 7 U.S.C. § 136a(c)(5)(C); and

            d. when used in accordance with widespread and commonly recognized practice
               it will not generally cause unreasonable adverse effects on the environment,
               7 U.S.C. § 136a(c)(5)(D).

       212.    FIFRA defines “unreasonable adverse effects on the environment’’ as “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

       213.    Under FIFRA, “[a]s long as no cancellation proceedings are in effect


                                                33
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 34 of 67 Page ID #34




registration of a pesticide shall be prima facie evidence that the pesticide, its labeling and

packaging comply with the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2).

        214.     However, FIFRA further provides that “[i]n no event shall registration of an

article be construed as a defense for the commission of any offense under [FIFRA].” 7 U.S.C.

§ 136a(f)(2).

        215.     The distribution or sale of a pesticide that is misbranded is an offense under

FIFRA, which provides in relevant part that “it shall be unlawful for any person in any State

to distribute or sell to any person…any pesticide which is…misbranded.” 7 U.S.C. §

136j(a)(1)(E).

        216.     A pesticide is misbranded under FIFRA if, among other things:

             a. its labeling bears any statement, design, or graphic representation relative
                thereto or to its ingredients that is false or misleading in any particular, 7 U.S.C.
                §136(q)(1)(A);

             b. the labeling accompanying it does not contain directions for use which are
                necessary for effecting the purpose for which the product is intended and
                if complied with, together with any requirements imposed under Section
                136a(d) of the title, are adequate to protect health and the environment, 7 U.S.C.
                § 136(q)(1)(F); or

             c. the label does not contain a warning or caution statement that may be necessary
                and if complied with, together with any requirements imposed under section
                136a(d) of the title, is adequate to protect health and the environment,” 7 U.S.C.
                §136(q)(l)(G).

        217.     Syngenta has long misrepresented and denied the harmful side effects of its

paraquat-based products.

        218.     In response to growing concern about the safety of paraquat, Syngenta

established a website at www.paraquat.com for the purpose of persuading the public that

paraquat is safe.

        219.     Syngenta’s statements proclaiming the safety of paraquat and disregarding its

dangers were designed to mislead the agricultural community and the public at large, including

Plaintiff.


                                                 34
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 35 of 67 Page ID #35




        220.    As of the filing of this Complaint, www.paraquat.com has been taken down by

Syngenta.

        221.    Defendants knew or should have known that paraquat was a highly toxic

substance that can cause severe neurological injuries and impairment.

        222.    Defendants failed to appropriately and adequately test its paraquat-based

products to protect individuals like Donald Gaudreault, decedent, from the hazards of exposure

to Paraquat.

        223.    Despite its knowledge that exposure to paraquat was dangerous, Defendants

continued to promote their Paraquat-based products as safe.

        224.    In fact, in 2003, when Syngenta was dealing with lawsuits regarding another

toxic herbicide, atrazine, it was reported that “Sherry Ford, the communications manager,

wrote in her notebook that the company ‘should not phase out [atrazine] until we know about’

the Syngenta herbicide Paraquat, which has also been controversial, because of studies

showing that it might be associated with Parkinson’s disease. She noted that atrazine ‘focuses

attention away from other products.’” 21

        225.    Plaintiff does not seek in this action to impose on Defendants any labeling or

packaging requirement in addition to or different from those required under FIFRA;

accordingly, any allegation in this complaint that a Defendant breached a duty to provide

adequate directions for the use of paraquat or warnings about paraquat, breached a duty to

provide adequate packaging for paraquat, or concealed, suppressed, or omitted to disclose any

material fact about paraquat or engaged in any unfair or deceptive practice regarding paraquat,

that allegation is intended and should be construed to be consistent with that alleged breach,

concealment, suppression, or omission, or unfair or deceptive practice, having rendered the

paraquat “misbranded” under FIFRA; however, Plaintiff brings claims and seek relief in this

21
  Rachel Aviv, A Valuable Reputation, The New Yorker, (Feb 3, 2014),
https://www.newyorker.com/magazine/2014/02/10/a-valuable-reputation.


                                                  35
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 36 of 67 Page ID #36




action only under state law, and do not bring any claims or seek any relief in this action under

FIFRA.

        226.   Defendants’ failure to adequately warn Donald Gaudreault, decedent, resulted

in: (1) Plaintiff being exposed to paraquat; and (2) scientists and physicians failing to warn and

instruct the public, particularly those living in agricultural areas where paraquat-based

pesticides are heavily sprayed, about the risk of Parkinson’s disease and renal disease with

exposure to paraquat.

        227.   By reason of the foregoing, Donald Gaudreault, decedent, was severely and

permanently injured and has been diagnosed with Parkinson's Disease.

        228.   By reason of the foregoing acts and omissions, Plaintiff endured emotional and

mental anguish, medical expenses, and other economic and non-economic damages, as a result

of Defendants’ actions and inactions.

        229.   Donald Gaudreault, decedent, was regularly exposed to Paraquat as a result of

direct exposure via spraying, mixing, loading and cleaning up Paraquat products.

        230.   Donald Gaudreault, decedent, subsequently began experiencing symptoms of

Parkinson's Disease and was diagnosed with Parkinson's Disease in approximately March

2023.

        231.   As a result of Donald Gaudreault’s, decedent, injuries, Janice Gaudreault,

individually and as a Personal Representative of the Estate of Donald Gaudreault incurred

significant economic and non-economic damages.

        232.   Donald Gaudreault, decedent, was directly exposed to Defendants’ paraquat

products from approximately 1985 to 1995 while working at his family farm located in North

Platte, Nebraska.

        233.   During the entire time that Donald Gaudreault, decedent, was exposed to

paraquat, Plaintiff did not know that exposure to paraquat when handled according to the



                                               36
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 37 of 67 Page ID #37




instructions could be injurious to Plaintiff or others.

       234.     Janice Gaudreault, individually and as a Personal Representative of the Estate

of Donald Gaudreault, first learned that exposure to paraquat can cause Parkinson’s disease,

end stage renal disease, and other serious illnesses sometime after August 2022.

       VI.      ALLEGATIONS COMMON TO SPECIFIC CAUSES OF ACTION

       A.       Strict product liability – design defect

       235.     At all relevant times, Defendants, Defendants’ corporate predecessors, and

others with whom they acted in concert were engaged in the U.S. paraquat business.

       236.     At all relevant times, Defendants, Defendants’ corporate predecessors, and

others with whom they acted in concert were engaged in the business of designing,

manufacturing, distributing, and selling pesticides, and designed, manufactured, distributed,

and sold paraquat intending or expecting that it would be sold and used in Nebraska.

       237.     Donald Gaudreault, decedent, was exposed to paraquat sold and used in

Nebraska that Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert designed, manufactured, distributed, and sold intending or expecting that it

would be sold andused in Nebraska.

       238.     The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Nebraska, Decedent, was exposed was in a defective condition that made it unreasonably

dangerous, in thatwhen used in the intended and directed manner or a reasonably foreseeable

manner:

             a. it was designed, manufactured, formulated, and packaged such that it was likely
                to be inhaled, ingested, and absorbed into the bodies of persons who used it,
                who were nearby while it was being used, or who entered fields or orchards
                where it hadbeen sprayed or areas near where it had been sprayed; and

             b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who
                were nearby while it was being used, or who entered fields or orchards where it
                had been sprayed or areas near where it had been sprayed, it was likely to cause


                                                37
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 38 of 67 Page ID #38




               or contribute to cause latent neurological damage that was both permanent and
               cumulative, and repeated exposures were likely to cause or contribute to cause
               clinically significant neurodegenerative disease, including PD, to develop long
               after exposure.

       239.    This defective condition existed in the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Donald Gaudreault, Decedent, was exposed when it left the

control of Defendants, Defendants’ corporate predecessors, and others with whom they acted

in concert and was placed into the stream of commerce.

       240.    As a result of this defective condition, the paraquat that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold and to which Donald Gaudreault, Decedent, was exposed

either failed to perform in the manner reasonably to be expected in light of its nature and

intended function, or the magnitude of the dangers outweighed its utility.

       241.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Donald Gaudreault, Decedent, was exposed was used in the intended and directed manner or a

reasonably foreseeablemanner.

       B.      Strict product liability – failure to warn

       242.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used in

Nebraska.

       243.    Donald Gaudreault, Decedent, was exposed to paraquat sold and used in

Nebraska that Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert designed, manufactured, distributed, and sold intending or expecting that it


                                              38
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 39 of 67 Page ID #39




would be sold andused in Nebraska.

       244.    When Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert designed, manufactured, distributed, and sold the paraquat to which

Donald Gaudreault, Decedent, was exposed, Defendants, Defendants’ corporate predecessors,

and others with whomthey acted in concert knew or in the exercise of ordinary care should

have known that when used in the intended and directed manner or a reasonably foreseeable

manner:

           a. it was designed, manufactured, formulated, and packaged such that it was likely
              to be inhaled, ingested, and absorbed into the bodies of persons who used it,
              who were nearby while it was being used, or who entered fields or orchards
              where it hadbeen sprayed or areas near where it had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who
              were nearby while it was being used, or who entered fields or orchards where it
              hadbeen sprayed or areas near where it had been sprayed, it was likely to cause
              or contribute to cause latent neurological damage that was both permanent and
              cumulative, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including PD, to develop long
              after exposure.

       245.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Donald Gaudreault, Decedent, was exposed was in a defective condition that made it

unreasonably dangerous when it was used in the intended and directed manner or a reasonably

foreseeable manner, in that:

           a. it was not accompanied by directions for use that would have made it unlikely
              to be inhaled, ingested, and absorbed into the bodies of persons who used it,
              who were nearby while it was being used, or who entered fields or orchards
              where it hadbeen sprayed or areas near where it had been sprayed; and

           b. it was not accompanied by a warning that when inhaled, ingested, or absorbed
              into the bodies of persons who used it, who were nearby while it was being
              used, or who entered fields or orchards where it had been sprayed or areas near
              where it had been sprayed, it was likely to cause or contribute to cause latent
              neurological damage that was both permanent and cumulative, and that repeated
              exposures were likely to cause or contribute to cause clinically significant
              neurodegenerativedisease, including PD, to develop long after exposure.



                                             39
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 40 of 67 Page ID #40




       246.    This defective condition existed in the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Donald Gaudreault, Decedent, was exposed when it left the

control of Defendants,Defendants’ corporate predecessors, and others with whom they acted

in concert and was placed into the stream of commerce.

       247.    As a result of this defective condition, the paraquat that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold and to which Donald Gaudreault, Decedent, was exposed

either failed to perform in the manner reasonably to be expected in light of its nature and

intended function, or the magnitude of the dangers outweighed its utility.

       248.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Plaintiff was exposed was used in the intended and directed manner or a reasonably foreseeable

manner.

       C.      Negligence

       249.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used in

Nebraska.

       250.    Donald Gaudreault, Decedent, was exposed to Paraquat products sold and used

in Nebraska that Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert designed, manufactured, distributed, and sold intending or expecting that it

would be sold andused in Nebraska.

       251.    The paraquat that Defendants, Defendants’ corporate predecessors, and others



                                              40
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 41 of 67 Page ID #41




with whom they acted in concert designed, manufactured, distributed, and sold and to which

Donald Gaudreault, Decedent, was exposed was used in the intended and directed manner or a

reasonably foreseeablemanner.

       252.    At all times relevant to this claim, in designing, manufacturing, packaging,

labeling, distributing, and selling paraquat, and in acting in concert with others who did so,

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

owed a duty to exercise ordinary care for the health and safety of the persons whom it was

reasonably foreseeable could be exposed to it, including Donald Gaudreault, Decedent.

       253.    When Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert designed, manufactured, packaged, labeled, distributed, and sold the

paraquat to which Donald Gaudreault, Decedent, was exposed, it was reasonably foreseeable,

and Defendants, Defendants’ corporate predecessors, and others with whom they acted in

concert knew or in the exercise of ordinary case should have known, that when paraquat was

used in the intendedand directed manner or a reasonably foreseeable manner:

           a. it was designed, manufactured, formulated, and packaged such that it was likely
              to be inhaled, ingested, and absorbed into the bodies of persons who used it,
              who were nearby while it was being used, or who entered fields or orchards
              where it hadbeen sprayed or areas near where it had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who
              were nearby while it was being used, or who entered fields or orchards where it
              hadbeen sprayed or areas near where it had been sprayed, it was likely to cause
              or contribute to cause latent neurological damage that was both permanent and
              cumulative, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including PD, to develop long
              after exposure.

       254.    In breach of the aforementioned duty to Donald Gaudreault, Decedent,

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

negligently:

           a. failed to design, manufacture, formulate, and package paraquat to make it
              unlikely to be inhaled, ingested, and absorbed into the bodies of persons who
              used it, who were nearby while it was being used, or who entered fields or


                                              41
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 42 of 67 Page ID #42




            orchards where it had been sprayed or areas near where it had been sprayed;

         b. designed, manufactured, and formulated paraquat such that when inhaled,
            ingested, or absorbed into the bodies of persons who used it, who were nearby
            whileit was being used, or who entered fields or orchards where it had been
            sprayed or areas near where it had been sprayed, it was likely to cause or
            contribute to cause latent neurological damage that was both permanent and
            cumulative, and repeatedexposures were likely to cause or contribute to cause
            clinically significant neurodegenerative disease, including PD, to develop long
            after exposure;

         c. failed to perform adequate testing to determine the extent to which exposure to
            paraquat was likely to occur through inhalation, ingestion, and absorption into
            the bodies of persons who used it, who were nearby while it was being used, or
            who entered fields or orchards where it had been sprayed or areas near where it
            had been sprayed;

         d. failed to perform adequate testing to determine the extent to which paraquat
            spray drift was likely to occur, including its propensity to drift, the distance it
            was likely to drift, and the extent to which paraquat spray droplets were likely
            to enter the bodies of persons spraying it or other persons nearby during or after
            spraying;

         e. failed to perform adequate testing to determine the extent to which paraquat,
            when inhaled, ingested, or absorbed into the bodies of persons who used it, who
            were nearby while it was being used, or who entered fields or orchards where it
            hadbeen sprayed or areas near where it had been sprayed, was likely to cause
            or contribute to cause latent neurological damage that was both permanent and
            cumulative, and the extent to which repeated exposures were likely to cause or
            contribute to cause clinically significant neurodegenerative disease, including
            PD,to develop long after exposure;

         f. failed to perform adequate testing to determine the extent to which paraquat,
            when formulated or mixed with surfactants or other pesticides or used along
            with other pesticides, and inhaled, ingested, or absorbed into the bodies of
            persons whoused it, who were nearby while it was being used, or who entered
            fields or orchardswhere it had been sprayed or areas near where it had been
            sprayed, was likely to cause or contribute to cause latent neurological damage
            that was both permanent and cumulative, and the extent to which repeated
            exposures were likely to cause or contribute to cause clinically significant
            neurodegenerative disease, including PD,to develop long after exposure;

         g. failed to direct that paraquat be used in a manner that would have made it
            unlikely to have been inhaled, ingested, and absorbed into the bodies of persons
            who used it, who were nearby while it was being used, or who entered fields or
            orchards where it had been sprayed or areas near where it had been sprayed; and

         h. failed to warn that when inhaled, ingested, or absorbed into the bodies of
            persons who used it, who were nearby while it was being used, or who entered
            fields or orchards where it had been sprayed or areas near where it had been


                                             42
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 43 of 67 Page ID #43




               sprayed, paraquat was likely to cause or contribute to cause latent neurological
               damage that was both permanent and cumulative, and repeated exposures were
               likely to cause or contribute to cause clinically significant neurodegenerative
               disease, including PD, to develop long after exposure.

   D. Consumer Protection Act

       255.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used by Plaintiff.

       256.    Plaintiff was exposed to paraquat that Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert designed, manufactured, distributed,

and sold intending or expecting that it would be sold and used and that Plaintiff, a member of

Plaintiff’s family, and/or Plaintiff’s employer purchased for the purpose of controlling weeds

and not for resale.

       257.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert had actual or constructive knowledge

that when used in the intended and directed manner or a reasonably foreseeable manner:

           a. paraquat was designed, manufactured, formulated, and packaged such that it
              was likely to be inhaled, ingested, and absorbed into the bodies of persons who
              used it, who were nearby while it was being used, or who entered fields or
              orchards where it had been sprayed or areas near where it had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who
              were nearby while it was being used, or who entered fields or orchards where
              it had been sprayed or areas near where it had been sprayed, paraquat was likely
              to cause or contribute to cause latent neurological damage that was both
              permanent and cumulative, and repeated exposures were likely to cause or
              contribute to cause clinically significant neurodegenerative disease, including
              PD, to develop long after exposure.

       258.    From the first date on which Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert placed paraquat that they designed, manufactured,

distributed and sold into the stream of commerce through the last date on which Plaintiff was



                                               43
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 44 of 67 Page ID #44




exposed to paraquat that they designed, manufactured, distributed, and sold, Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert engaged in

unfair or deceptive acts or practices, including but not limited to deception, fraud, false

pretense, false promise, misrepresentation or the concealment, suppression, or omission of

material facts, regarding their design, manufacture, distribution, and sale of paraquat, in that

they:

           a. concealed, suppressed, or omitted to disclose that paraquat was designed,
              manufactured, formulated, and packaged such that it was likely to be inhaled,
              ingested, and absorbed into the bodies of persons who used it, who were nearby
              while it was being used, or who entered fields or orchards where it had been
              sprayed or areas near where it had been sprayed;

           b. concealed, suppressed, or omitted to disclose that when inhaled, ingested, or
              absorbed into the bodies of persons who used it, who were nearby while it was
              being used, or who entered fields or orchards where it had been sprayed or areas
              near where it had been sprayed, paraquat was likely to cause or contribute to
              cause latent neurological damage that was both permanent and cumulative, and
              repeated exposures were likely to cause or contribute to cause clinically
              significant neurodegenerative disease, including PD, to develop long after
              exposure.

           c. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which exposure to paraquat was likely to
              occur through inhalation, ingestion, and absorption into the bodies of persons
              who used it, who were nearby while it was being used, or who entered fields or
              orchards where it had been sprayed or areas near where it had been sprayed;

           d. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which paraquat spray drift was likely to
              occur, including its propensity to drift, the distance it was likely to drift, and the
              extent to which paraquat spray droplets were likely to enter the bodies of persons
              spraying it or other persons nearby during or after spraying;

           e. concealed, suppressed, or omitted to disclose that adequate testing had not been
              performed to determine the extent to which paraquat, when inhaled, ingested, or
              absorbed into the bodies of persons who used it, who were nearby while it was
              being used, or who entered fields or orchards where it had been sprayed or areas
              near where it had been sprayed, was likely to cause or contribute to cause latent
              neurological damage that was both permanent and cumulative, and the extent to
              which repeated exposures were likely to cause or contribute to cause clinically
              significant neurodegenerative disease, including PD, to develop long after
              exposure;

           f. concealed, suppressed, or omitted to disclose that adequate testing had not been


                                                44
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 45 of 67 Page ID #45




                performed to determine the extent to which paraquat, when formulated or mixed
                with surfactants or other pesticides or used along with other pesticides, and
                inhaled, ingested, or absorbed into the bodies of persons who used it, who were
                nearby while it was being used, or who entered fields or orchards where it had
                been sprayed or areas near where it had been sprayed, was likely to cause or
                contribute to cause latent neurological damage that was both permanent and
                cumulative, and the extent to which repeated exposures were likely to cause or
                contribute to cause clinically significant neurodegenerative disease, including
                PD, to develop long after exposure.

         259.   These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

for use were “unfair” because they offended public policy, were immoral, unethical,

oppressive, and unscrupulous, and caused substantial injury to consumers.

         260.   These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

were immoral and unethical, as they served only to benefit Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert at the expense of the health of

purchasers and users of paraquat and the public.

         261.   These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

were likely to cause substantial injury to purchasers and users of paraquat and the public by

exposing them to unnecessary risks to their health.

         262.   These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

were likely to cause, and did cause, substantial injury to purchasers and users of paraquat and

the public in that but for these acts and practices paraquat would not have been purchased and

persons who used it, who were nearby while it was being used, or who entered fields or orchards

where it had been sprayed or areas near where it had been sprayed would not have been injured

by it.



                                               45
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 46 of 67 Page ID #46




       263.    The injuries caused by these acts and practices of Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert in manufacturing,

distributing and selling paraquat, namely purchasers’ monetary losses and the injuries and

damages (including monetary losses) to persons who used it, who were nearby while it was

being used, or who entered fields or orchards where it had been sprayed or areas near where it

had been sprayed, including Plaintiff, are not outweighed by any countervailing benefit to

consumers or competition.

       264.    The injuries caused by these acts and practices of Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert in manufacturing,

distributing and selling paraquat, namely purchasers’ monetary losses and the injuries and

damages (including monetary losses) to persons who used it, who were nearby while it was

being used, or who entered fields or orchards where it had been sprayed or areas near where it

had been sprayed, including Donald Gaudreault, Decedent, were not reasonably avoidable;

because Defendants, Defendants’ corporate predecessors, and others with whom they acted in

concert in manufacturing, distributing, and selling paraquat were the sole sources of material

information and they failed to disclose this information, and consumers therefore could not

have had reason to anticipate the impending harm and thus avoid their injuries.

       265.    Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert intended that purchasers of the paraquat that they manufactured, distributed,

and sold and to which Plaintiff was exposed, would purchase it in reliance on these unfair and

deceptive acts and practices.

       266.    The facts that Defendants, Defendants’ corporate predecessors, and others with

whom they acted in concert concealed, suppressed, or omitted to disclose were material to the

decisions to purchase the paraquat that Defendants, Defendants’ corporate predecessors, and

others with whom they acted in concert manufactured, distributed, and sold and to which



                                             46
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 47 of 67 Page ID #47




Donald Gaudreault, Decedent, was exposed, in that it would not have been purchased had these

facts been disclosed.

       267.    These unfair and deceptive acts and practices of Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert occurred in connection

with their conduct of trade and commerce.

       E.      Breach of implied warranty of merchantability

       268.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling paraquat and other restricted-use pesticides

and holding themselves out as having knowledge or skill regarding paraquat and other

restricted-use pesticides.

       269.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used in

Nebraska.

       270.    Donald Gaudreault, Decedent, was exposed to paraquat sold and used in

Nebraska that Defendants, Defendants’ corporate predecessors, and others with whom they

acted in concert designed, manufactured, distributed, and sold intending or expecting that it

would be sold and used in Nebraska.

       271.    At the time of each sale of paraquat to which Donald Gaudreault, Decedent, was

exposed, Defendants, Defendants’ corporate predecessors, and others with whom they acted in

concert impliedly warranted that it was of merchantable quality, including that it was fit for the

ordinary purposesfor which such goods were used.

       272.    Defendants, Defendants’ corporate predecessors, and others with whom they



                                                47
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 48 of 67 Page ID #48




acted in concert breached this warranty regarding each sale of paraquat to which Donald

Gaudreault, Decedent, wasexposed, in that it was not of merchantable quality because it was

not fit for the ordinary purposes for which such goods were used, and in particular:

           a. it was designed, manufactured, formulated, and packaged such that it was likely
              to be inhaled, ingested, and absorbed into the bodies of persons who used it,
              who were nearby while it was being used, or who entered fields or orchards
              where it hadbeen sprayed or areas near where it had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who
              were nearby while it was being used, or who entered fields or orchards where it
              hadbeen sprayed or areas near where it had been sprayed, it was likely to cause
              or contribute to cause latent neurological damage that was both permanent and
              cumulative, and repeated exposures were likely to cause or contribute to cause
              clinically significant neurodegenerative disease, including PD, to develop long
              after exposure.

                                   COUNT 1
                         DEFENDANTS SCPLLC AND SAG
                  STRICT PRODUCT LIABILITY – DESIGN DEFECT
                             PERSONAL INJURIES

       273.    At all times herein mentioned, Defendants designed, researched, manufactured,

tested, advertised, promoted, sold, and/or distributed paraquat products as described above to

which Plaintiff was exposed.

       274.    Paraquat products were expected to and did reach the usual consumers,

handlers, and persons coming into contact with it without substantial change in the condition

in which they were produced, manufactured, sold, distributed, and/or marketed by Defendants.

       275.    At those times, paraquat products were in an unsafe, defective condition that

was unreasonably dangerous to users, and in particular, to the Plaintiff.

       276.    For many years, Donald Gaudreault, Decedent, was exposed to Defendants’

paraquat products regularly and repeatedly for hours at a time resulting in regular, repeated,

and prolonged exposure of Plaintiff to paraquat.

       277.    The paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants were defective in design or



                                               48
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 49 of 67 Page ID #49




formulation in that, when they left the hands of the manufacturer and/or suppliers, the

foreseeable risks exceeded the benefits associated with the design or formulation of the

paraquat products.

       278.    The paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants were defective in design and/or

formulation, in that, when they left the hands of Defendants or their manufacturers and/or

suppliers, they were unreasonably dangerous, unreasonably dangerous in normal use, and they

were more dangerous than an ordinary consumer would expect. On balance, the unreasonable

risks posed by paraquat products outweighed the benefits of their design.

       279.    At all relevant times, paraquat products were in a defective condition and

unsafe, and Defendants knew or had reason to know they were defective and unsafe, especially

when used in the form and manner as intended by Defendants. In particular, the paraquat

products were defective in the following ways:

           a. Paraquat products were designed, manufactured, formulated, and packaged such
              that when so used, Paraquat was likely to be inhaled, ingested, and absorbed
              into the bodies of persons who used them, while they were being used, or
              entered fields or orchards where they have been sprayed or areas near where
              they had been sprayed; and

           b. when inhaled, ingested, or absorbed into the bodies of persons who used them,
              were nearby while they were being used, or entered fields or orchards where
              they had been sprayed or areas near where they had been sprayed, Paraquat was
              likely to cause or contribute to cause latent, permanent, and cumulative
              neurological or renal damage, and repeated neurodegenerative disease,
              including Parkinson’s disease to develop over time and manifest long after
              exposure.

       280.    In breach of their duty to Donald Gaudreault, Decedent, Defendants acted

negligently, and in conscious disregard for the safety of others:

           a. failed to design, manufacture, formulate, and package Defendants’ paraquat
              products to make paraquat unlikely to be inhaled, ingested, and absorbed into
              the bodies of persons who used them, were nearby while they were being used,
              or entered fields or orchards where they had been sprayed or areas near where
              they had been sprayed;



                                               49
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 50 of 67 Page ID #50




         b. designed and manufactured paraquat and designed and formulated Defendants’
            paraquat products such that when inhaled, ingested, or absorbed into the bodies
            of persons who used Defendants’ paraquat products, were nearby while they
            were being used, or entered fields or orchards where they had been sprayed or
            areas near where they had been sprayed, paraquat was likely to cause latent,
            cumulative, and permanent neurological or renal damage, and repeated
            exposures were likely to cause or contribute to cause clinically significant renal
            or neurodegenerative disease, including Parkinson’s disease, to develop over
            time and manifest long after exposure;

         c. failed to perform adequate testing to determine the extent to which exposure to
            paraquat was likely to occur through inhalation, ingestion, and absorption; into
            the bodies of persons who used them, were nearby while they were being used,
            or entered fields or orchards where they had been sprayed or areas near where
            they had been sprayed;

         d. failed to perform adequate testing to determine the extent to which spray drift
            from Defendants’ paraquat products was likely to occur, including their
            propensity to drift, the distance they were likely to drift, and the extent to which
            paraquat spray droplets were likely to enter the bodies of persons spraying
            Defendants’ paraquat products or nearby during or after spraying;

         e. failed to perform adequate testing to determine the extent to which paraquat,
            when inhaled, ingested, or absorbed into bodies of persons who used
            Defendants’ paraquat products, were nearby while they were being used, or
            entered fields or orchards where they had been sprayed or areas near where they
            had been sprayed, was likely to cause or contribute to cause latent, cumulative,
            and permanent neurological or renal damage, and the extent to which repeated
            exposures were likely to cause or contribute to cause clinically significant renal
            or neurodegenerative disease, including Parkinson’s disease, to develop over
            time and manifest long after exposure;

         f. failed to perform adequate testing to determine the extent to which paraquat,
            when formulated or mixed with surfactants or other pesticides, and inhaled,
            ingested, or absorbed into the bodies of persons who used Defendants’ paraquat
            products, were nearby while they were being used, or entered fields or orchards
            where they had been sprayed or areas near where they had been sprayed, was
            likely to cause or contribute to cause latent, cumulative, and permanent
            neurological or renal damage, and the extent to which repeated exposures were
            likely to cause or contribute to cause significant renal or neurodegenerative
            disease, including Parkinson’s disease, to develop over time and manifest long
            after exposure;

         g. failed to direct that Defendants’ paraquat products be used in a manner that
            would have made it unlikely for paraquat to have been inhaled, ingested, or
            absorbed into the bodies of persons who used Defendants’ paraquat products,
            were nearby while they were being used, or entered fields or orchards where
            they had been sprayed or areas near where they had been sprayed; and

         h. failed to warn that when inhaled, ingested, or absorbed into the bodies of persons


                                             50
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 51 of 67 Page ID #51




               who used Defendants’ paraquat products, were nearby while they were being
               used, or entered fields or orchards where they had been sprayed or areas near
               where they had been sprayed, paraquat was likely to cause or contribute to cause
               significant renal or neurodegenerative disease, including PD.

       281.    Defendants knew or should have known that at all relevant times that their

paraquat products were in a defective condition and were (and are) unreasonably dangerous

and unsafe and would create a substantial risk of harm to persons who used them, were nearby

while Paraquat products were being used, or entered fields or orchards where paraquat products

had been sprayed or areas near where paraquat products had been sprayed.

       282.    Armed with this knowledge, Defendants voluntarily designed their paraquat

products with a dangerous condition knowing that in normal, intended use, consumers such as

Plaintiff would be exposed to it.

       283.    Donald Gaudreault, Decedent, was exposed to paraquat without knowledge of

paraquat’s dangerous characteristics.

       284.    At the time of Plaintiff’s exposure to paraquat, paraquat was being used for the

purposes and in a manner normally intended, as a broad-spectrum herbicide.

       285.    The paraquat products designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and/or distributed by Defendants reached their intended users in the

same defective and unreasonably dangerous condition in which it was manufactured.

       286.    Defendants designed, researched, manufactured, tested, advertised, promoted,

marketed, sold, and/or distributed a defective product, which created an unreasonable risk to

the consumer and to Plaintiff in particular, and Defendants are therefore strictly liable for the

injuries sustained by Donald Gaudreault, Decedent.

       287.    Donald Gaudreault, Decedent, could not, by the exercise of reasonable care,

have discovered paraquat’s defects herein mentioned or perceived its danger.

       288.    Defendants are thus strictly liable to Plaintiff for the manufacturing, marketing,

promoting, distribution, and/or selling of a defective product which they negligently designed.


                                               51
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 52 of 67 Page ID #52




       289.    Defendants’ defective design of paraquat products amounts to willful, wanton,

and/or reckless conduct.

       290.    As a direct and proximate result of the defects in Defendants’ paraquat products

were the cause or a substantial factor in causing Donald Gaudreault’s injuries.

       291.    As a direct and proximate result of the defective and unreasonably dangerous

condition of the paraquat manufactured, distributed, and sold by SCPLLC, SAG, their

corporate predecessors, and others with whom they acted in concert, Plaintiff developed

neurological injuries; has suffered severe and permanent physical pain, mental anguish, and

disability, and will continue to do so for the remainder of their life; has suffered the loss of a

normal life and will continue to do so for the remainder of their life; has lost income that he

otherwise would have earned and will continue to do so for the remainder of their life; and has

incurred reasonable expenses for necessary medical treatment and will continue to do so for

the remainder of their life.

                                   COUNT 2
                         DEFENDANTS SCPLLC AND SAG
                 STRICT PRODUCT LIABILITY – FAILURE TO WARN
                             PERSONAL INJURIES

       292.    Defendants engaged in the business of selling, testing, distributing, supplying,

manufacturing, marketing, and/or promoting paraquat, and through that conduct have

knowingly and intentionally placed paraquat into the stream of commerce with full knowledge

that it reaches consumers such as Donald Gaudreault, Decedent, who was exposed to it through

ordinary and reasonably foreseeable uses.

       293.    Defendants did in fact sell, distribute, supply, manufacture, and/or promote

paraquat products. Additionally, Defendants expected the paraquat that they were selling,

distributing, supplying, manufacturing, and/or promoting to reach Plaintiff without any

substantial change in the condition of the product from when it was initially distributed.

       294.     At the time of manufacture, Defendants knew, or in the exercise of ordinary


                                                52
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 53 of 67 Page ID #53




care, should have known that:

           a. Defendants’ paraquat products were designed, manufactured, formulated, and
              packaged such that it was likely to be inhaled, ingested, and absorbed into the
              bodies of people who used it, who were nearby when it was being used, or who
              entered fields or orchards where it had been sprayed or areas near where it had
              been sprayed; and

           b. when inhaled, ingested, or absorbed into the body, it was likely to cause latent
              neurological or renal damage that was both permanent and cumulative, and that
              repeated exposures were likely to cause renal or neurodegenerative disease,
              including PD.

       295.    At all relevant times, Defendants’ paraquat products were in a defective

condition such that they were unreasonably dangerous to those exposed to them and was so at

the time they were distributed by Defendants and at the time Plaintiff was exposed to and/or

ingested the product. The defective condition of paraquat was due in part to the fact that it was

not accompanied by proper warnings regarding its toxic qualities and possible health effects,

including, but not limited to, developing Parkinson’s disease or renal disease as a result of

exposure. That defective condition was not a common propensity of the paraquat products that

would be obvious to a user of those products.

       296.     Defendants’ paraquat products did not contain a necessary warning or caution

statement that, if complied with, would have been adequate to protect the health of those

exposed in violation of 7 U.S.C. § 136j(a)(1)(E).

       297.     Defendants failed to include a necessary warning or caution statement that, if

complied with, would have been adequate to protect the health of those exposed.

       298.     Defendants could have revised paraquat’s label to provide additional warnings.

       299.     This defect caused serious injury to Donald Gaudreault, Decedent, who was

exposed to Paraquat in its intended and foreseeable manner.

       300.     At all relevant times, Defendants had a duty to properly design, manufacture,

compound, test, inspect, package, label, distribute, market, examine, maintain supply, provide

proper warnings, and take such steps to assure that the product did not cause users to suffer


                                                53
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 54 of 67 Page ID #54




from unreasonable and dangerous side effects.

       301.     Defendants labeled, distributed, and promoted a product that was dangerous

and unsafe for the use and purpose for which it was intended.

       302.     Defendants failed to warn of the nature and scope of the health risks associated

with Paraquat, namely its toxic properties and its propensity to cause or serve as a substantial

contributing factor in the development of Parkinson’s disease or renal disease.

       303.     Defendants knew of the probable consequences of exposure to paraquat.

Despite this fact, Defendants failed to exercise reasonable care to warn of the dangerous toxic

properties and risks of developing Parkinson’s disease or renal disease from paraquat exposure,

even though these risks were known or reasonably scientifically knowable at the time of

distribution. Defendants willfully and deliberately failed to avoid the consequences associated

with its failure to warn, and in doing so, acted with conscious disregard for Plaintiff’s safety.

       304.     At the time of exposure, Donald Gaudreault, Decedent, could not have

reasonably discovered any defect in paraquat through the exercise of reasonable care.

       305.     Defendants, as manufacturers and/or distributors of paraquat, are held to the

level of knowledge of an expert in the field. There was unequal knowledge with respect to the

risk of harm, and Defendants, as manufacturers of paraquat products possessed superior

knowledge and knew or should have known that harm would occur in the absence of a

necessary warning.

       306.    Donald Gaudreault, Decedent, reasonably relied on the skill, superior

knowledge, and judgment of Defendants.

       307.     Had Defendants properly disclosed the risks associated with paraquat, Donald

Gaudreault, Decedent, would have taken steps to avoid exposure to paraquat.

       308.     The information that Defendants provided failed to contain adequate warnings

and precautions that would have enabled users to use the product safely and with adequate



                                                54
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 55 of 67 Page ID #55




protection. Instead, Defendants disseminated information that was inaccurate, false, and

misleading and that failed to communicate accurately or adequately the comparative severity,

duration, and extent of the risk of injuries associated with use of and/or exposure to paraquat;

continued to promote the efficacy of paraquat, even after they knew or should have known of

the unreasonable risks from exposure; and concealed, downplayed, or otherwise suppressed,

through aggressive marketing and promotion, any information or research about the risks and

dangers of exposure to paraquat.

       309.     To this day, Defendants have failed to adequately warn of the true risks of

exposure to paraquat, including the risks manifested by Donald Gaudreault’s injuries associated

with exposure to paraquat.

       310.     As a result of its inadequate warnings, paraquat was defective and

unreasonably dangerous when it left Defendants’ possession and/or control, was distributed by

Defendants, and when Donald Gaudreault, Decedent, was exposed to it.

       311.    As a direct and proximate result of the lack of adequate directions for the use

of and warnings about the dangers of the paraquat manufactured, distributed and sold by

SCPLLC, SAG, their corporate predecessors, and others with whom they acted in concert,

Plaintiff developed neurological injuries consistent with and including PD; has suffered severe

and permanent physical pain, mental anguish, and disability, and will continue to do so for the

remainder of their life; has suffered the loss of a normal life and will continue to do so for the

remainder of their life; has lost income that he otherwise would have earned and will continue

to do so for the remainder of their life; and has incurred reasonable expenses for necessary

medical treatment and will continue to do so for the remainder of their life.

                                       COUNT 3
                             DEFENDANTS SCPLLC AND SAG
                                    NEGLIGENCE
                                 PERSONAL INJURIES

       312.    Defendants had a duty to exercise ordinary care in the designing, researching,


                                                55
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 56 of 67 Page ID #56




testing, manufacturing, marketing, supplying, promoting, packaging, sale, and/or distribution

of paraquat products into the stream of commerce, including a duty to assure that the product

would not cause those exposed to it to suffer unreasonable and dangerous side effects.

       313.    Defendants failed to exercise ordinary care in the designing, researching,

testing, manufacturing, marketing, supplying, promoting, packaging, sale, quality assurance,

quality control, and/or distribution of paraquat products in that Defendants knew or should have

known that persons foreseeably exposed to paraquat products were placed at a high risk of

suffering unreasonable and dangerous side effects, including, but not limited to, the

development of Parkinson’s disease or renal disease, as well as other severe and personal

injuries that are permanent and lasting in nature; physical pain and mental anguish, including

diminished enjoyment of life; and a need for lifelong medical treatment, monitoring, and/or

medications.

       314.    The negligence by Defendants, their agents, servants, and/or employees,

included but was not limited to the following acts and/or omissions:

           a. manufacturing, producing, promoting, formulating, creating, and/or designing
              paraquat products without thoroughly testing it;

           b. failing to test paraquat products and/or failing to adequately, sufficiently, and
              properly test paraquat products;

           c. not conducting sufficient testing programs to determine whether paraquat
              products were safe for use -- Defendants knew or should have known that
              paraquat products were unsafe and unfit for use because of the dangers to those
              exposed to it;

           d. not conducting sufficient testing programs and studies to determine paraquat
              product’s effects on human health even after Defendants had knowledge of
              studies linking paraquat products to latent neurological damage and
              neurodegenerative disease, including Parkinson’s disease, and renal disease;

           e. negligently failing to adequately and correctly warn the Plaintiff, the public, the
              medical and agricultural professions, and the EPA of the dangers of paraquat
              products;

           f. failing to provide adequate cautions and warnings to protect the health of
              persons who would reasonably and foreseeably be exposed to paraquat


                                              56
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 57 of 67 Page ID #57




               products;

           g. negligently marketing, advertising, and recommending the use of paraquat
              products without sufficient knowledge as to its dangerous propensities;

           h. negligently representing that paraquat products were safe for use for its intended
              purpose when, in fact, it was unsafe;

           i. negligently representing that paraquat products had equivalent safety and
              efficacy as other forms of herbicides;

           j. negligently designing paraquat products in a manner that was dangerous to
              others;

           k. negligently manufacturing paraquat products in a manner that was dangerous to
              others;

           l. negligently producing paraquat products in a manner that was dangerous to
              others;

           m. negligently formulating paraquat products in a manner that was dangerous to
              others;

           n. concealing information from the Plaintiff while knowing that paraquat products
              were unsafe, dangerous, and/or non-conforming with EPA regulations;

           o. improperly concealing and/or misrepresenting information from the Plaintiff,
              scientific and medical professionals, and/or the EPA, concerning the severity of
              risks and dangers of paraquat products compared to other forms of herbicides;
              and

           p. negligently selling paraquat products with a false and misleading label.

       315.    Defendants under-reported, underestimated, and downplayed the serious

dangers of paraquat products.

       316.    Defendants were negligent in the designing, researching, supplying,

manufacturing, promoting, packaging, distributing, testing, advertising, warning, marketing,

and selling of paraquat products in that Defendants:

               a. failed to use ordinary care in designing and manufacturing paraquat
                  products so as to avoid the aforementioned risks to individuals when
                  paraquat was used as an herbicide;

               b. failed to accompany paraquat products with proper and/or accurate warnings
                  regarding all possible adverse effects associated with exposure to paraquat;



                                              57
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 58 of 67 Page ID #58




               c. failed to warn Plaintiff of the severity and duration of such adverse effects,
                  as the warnings given did not accurately reflect the symptoms, or severity
                  of the effects including, but not limited to, developing Parkinson’s disease
                  or renal disease;

               d. failed to conduct adequate testing, clinical testing and post-marketing
                  surveillance to determine the safety of paraquat products;

               e. misrepresented the evidence of paraquat’s neurotoxicity; and

               f. were otherwise careless and/or negligent.

        317.    Despite the fact that Defendants knew or should have known that paraquat

products caused, or could cause, unreasonably dangerous health effects, Defendants continue

to market, manufacture, distribute, and/or sell paraquat products to consumers.

        318.    Defendants knew or should have known that consumers like Donald

Gaudreault, Decedent, would foreseeably suffer injury as a result of Defendants’ failure to

exercise ordinary care.

        319.    Defendants’ negligence was the proximate cause of Plaintiff’s injuries, harm

and economic loss, which Donald Gaudreault, Decedent, suffered.

        320.   As a direct and proximate result of the negligence of SCPLLC, SAG, their

corporate predecessors, and others with whom they acted in concert, Donald Gaudreault,

Decedent, developed neurological injuries consistent with and including Parkinson's Disease;

has suffered severe and permanent physical pain, mental anguish, and disability, and will

continue to do so for the remainder of their life; has suffered the loss of a normal life and will

continue to do so for the remainder of their life; has lost income that he otherwise would have

earned and will continue to do so for the remainder of their life; and has incurred reasonable

expenses for necessary medical treatment and will continue to do so for the remainder of their

life.

                              COUNT 4
                    DEFENDANTS SCPLLC AND SAG
   VIOLATION OF ILLINOIS CONSUMER FRAUD AND DECEPTIVE BUSINESS
                  PRACTICES ACT (815 ILCS 505/1 et seq.)



                                               58
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 59 of 67 Page ID #59




       321.    The Illinois Consumer Fraud and Deceptive Business Practices Act, 815 ILCS

505/1 et seq., provides in pertinent part:

       Unfair methods of competition and unfair or deceptive acts or practices,
       including but not limited to the use or employment of any deception, fraud, false
       pretense, false promise, misrepresentation or the concealment, suppression or
       omission of any material fact, with intent that others rely upon the concealment,
       suppression or omission of such material fact, or the use or employment of any
       practice described in Section 2 of the “Uniform Deceptive Trade Practices Act”,
       approved August 5, 1965, in the conduct of any trade or commerce are hereby
       declared unlawful whether any person has in fact been misled, deceived or
       damaged thereby.

       322.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used by Plaintiff.

       323.    Donald Gaudreault, Decedent, was exposed to paraquat that Defendants,

Defendants’ corporate predecessors, and others with whom they acted in concert designed,

manufactured, distributed, and sold intending or expecting that it would be sold and used and

that Plaintiff, a member of Plaintiff’s family, and/or Plaintiff’s employer purchased for the

purpose of controlling weeds and not for resale.

       324.    These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

for use were “unfair” because they offended public policy, were immoral, unethical,

oppressive, and unscrupulous, and caused substantial injury to consumers.

       325.    These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

were immoral and unethical, as they served only to benefit Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert at the expense of the health of

purchasers and users of paraquat and the public.


                                               59
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 60 of 67 Page ID #60




         326.   These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

were likely to cause substantial injury to purchasers and users of paraquat and the public by

exposing them to unnecessary risks to their health.

         327.   These acts and practices of Defendants, Defendants’ corporate predecessors,

and others with whom they acted in concert in manufacturing, distributing and selling paraquat

were likely to cause, and did cause, substantial injury to purchasers and users of paraquat and

the public in that, but for these acts and practices, paraquat would not have been purchased by

persons who used it, who were nearby while it was being used, or who entered fields or orchards

where it had been sprayed or areas near where it had been sprayed would not have been injured

by it.

         328.   Plaintiff Janice Gaudreault, individually and as a Personal Representative of the

Estate of Donald Gaudreault is entitled to recover costs and reasonable attorney’s fees pursuant

to 815 ILCS 505/10a.

         329.   As a direct and proximate result of the violations of the Consumer Fraud and

Deceptive Business Practices Act by SCPLLC, SAG, their corporate predecessors, and others

with whom they acted in concert, Plaintiff developed neurological injuries; has suffered severe

and permanent physical pain, mental anguish, and disability, and will continue to do so for the

remainder of their life; has suffered the loss of a normal life and will continue to do so for the

remainder of their life; has lost income that he otherwise would have earned and will continue

to do so for the remainder of their life; and has incurred reasonable expenses for necessary

medical treatment and will continue to do so for the remainder of their life.

         330.   Alternatively, the Consumer Protection Act of the State of Utah applies to this

claim and Plaintiff Janice Gaudreault, individually and as a Personal Representative of the

Estate of Donald Gaudreault, adopts all of the facts set forth above as allegations supporting a



                                               60
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 61 of 67 Page ID #61




claim under that law

                               COUNT 5
                      DEFENDANTS SCPLLC AND SAG
           BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
                          PERSONAL INJURIES

       331.    At all relevant times, Defendants were engaged in the business of selling

paraquat products and was a merchant with respect to those products.

       332.    At all relevant times, Defendants intended and expected that Defendants’

paraquat products would be sold and used.

       333.       Defendants developed, manufactured, distributed, and sold paraquat for use in

formulating Defendants’ paraquat products, and developed, registered, formulated, and

distributed Defendants’ paraquat products for sale in the United States.

       334.       Donald Gaudreault, Decedent, was exposed Defendants’ paraquat products

regularly and repeatedly, for hours at a time, resulting in regular, repeated, and prolonged

exposure to paraquat.

       335.       At the time of each sale of Defendants’ paraquat products that resulted in

Plaintiff’s exposure to paraquat, Defendants impliedly warranted that Defendants’ paraquat

products were of merchantable quality, including that they were fit for the ordinary purposes

for which such goods were used.

       336.       Defendants breached this warranty as to each sale of Defendants’ paraquat

products that resulted in Plaintiff’s exposure to paraquat, in that Defendants’ paraquat products

were not of merchantable quality because they were not fit for the ordinary purpose for which

such goods were used by Donald Gaudreault, Decedent, who was either in direct privity with

Defendants through purchase of the paraquat products or was an employee of the purchaser to

whom the warranty was directly made and, therefore, an intended third-party beneficiary of

such warranties

       337.    As a direct and proximate result of the breaches of the implied warranty of


                                               61
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 62 of 67 Page ID #62




merchantability by SCPLLC, SAG, their corporate predecessors, and others with whom they

acted in concert, Donald Gaudreault, Decedent, developed neurological injuries consistent

with and including PD; has suffered severe and permanent physical pain, mental anguish, and

disability, and will continue to do so for the remainder of their life; has suffered the loss of a

normal life and will continue to do so for the remainder of their life; has lost income that he

otherwise would have earned and will continue to do so for the remainderof their life; and has

incurred reasonable expenses for necessary medical treatment and will continue to do so for

the remainder of their life.

                                         COUNT 6
                               DEFENDANTS SCPLLC AND SAG
                                   PUNITIVE DAMAGES

       338.    Defendants’ conduct as alleged herein was done with oppression, fraud, and

malice. Defendants were fully aware of the safety risks of paraquat. Nonetheless, Defendants

deliberately crafted their label, marketing and promotion of paraquat to mislead farmers,

consumers and others who were foreseeably likely to be exposed to paraquat.

       339.    This was not done by accident or through typical justifiable negligence.

Defendants knew that they could turn a profit by convincing the agricultural industry that

paraquat did not cause Parkinson’s Disease, and that full disclosure of the true risks of paraquat

would limit the amount of money Defendants would make in selling paraquat in Nebraska.

Defendants’ objective was accomplished not only through its misleading labeling, but through

a comprehensive scheme of selective fraudulent research and testing, misleading advertising,

and deceptive omissions as more fully alleged herein. Plaintiff was denied the right to make

an informed decision about whether to purchase, use, or be exposed to an herbicide/pesticide

knowing the full risks attendant to that use. Such conduct was done with conscious disregard

of Plaintiff’s rights and through the willful and wanton conduct of Defendants.

       340.    There is no indication that Defendants will stop their deceptive and unlawful



                                                62
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 63 of 67 Page ID #63




marketing practices unless they are punished and deterred. Accordingly, Plaintiff Janice

Gaudreault, individually and as a Personal Representative of the Estate of Donald

Gaudreault, requests punitive damages against Defendants for the harms caused to Donald

Gaudreault, Decedent.

                                   COUNT 7
                         DEFENDANTS SCPLLC AND SAG
                      SURVIVAL ACTION – UT CODE § 78B-3-107


       341.    Janice Gaudreault, individually and as a Personal Representative of the Estate

 of Donald Gaudreault, files this survival action just as Donald Gaudreault, Decedent, would

 have filed all underlying claims as if he survived. Donald Gaudreault, Decedent, was entitled

 in the cause of actions in this complaint and the causes of action survive and are now being

 brought by Plaintiff Janice Gaudreault, individually and as a Personal Representative of the

 Estate of Donald Gaudreault.

       342.    Janice Gaudreault, individually and as a Personal Representative of the Estate

 of Donald Gaudreault, is the surviving heir of Donald Gaudreault, decedent, and is authorized

 to bring an action for survival/wrongful death of Decedent, who was exposed to Defendants’

 paraquat products and was injured and died as a result.

       343.    The injuries and damages of Plaintiff Janice Gaudreault and Donald Gaudreault,

 Decedent, were caused by the wrongful acts, omissions, and fraudulent misrepresentations of

 Defendants.

       344.    As a result of the conduct of Defendants and exposure to Defendants’ product,

 the Decedent suffered fatal injuries.

       345.    As a direct and proximate result of the wrongful conduct by SCPLLC, SAG,

 and others with whom they acted in concert, Donald Gaudreault, Decedent, developed

 neurological injuries consistent with PD; suffered severe and permanent physical pain, mental

 anguish, disability, and death; suffered the loss of a normal life; lost income that he otherwise


                                               63
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 64 of 67 Page ID #64




 would have earned; and incurred reasonable expenses for necessary medical treatment and

 expenses related to death.

       346.    As a result of the death of Donald Gaudreault, Decedent, Plaintiff Janice

 Gaudreault is entitled to recovery for loss of love, companionship, comfort, support, affection,

 society, solace, and moral support of Donald Gaudreault’s full value of the Donald

 Gaudreault’s, Decedent, life, and as further provided under applicable state law, including but

 not limited to, Utah’s Survival Action Statute, UT Code § 78B-3-107.

       347.    Plaintiff Janice Gaudreault, individually and as a Personal Representative of the

 Estate of Donald Gaudreault, is entitled to survival damages including lost earnings, loss of

 earning capacity, medical and funeral expenses, punitive damages, Donald Gaudreault,

 Decedent, physical, mental and emotional pain and suffering, and as further provided under

 applicable state law. Plaintiff is entitled to recover economic and non- economic damages

 against Defendants for wrongful death directly and legally caused by the defects in

 Defendants’ paraquat and the negligent conduct, acts, errors, omissions, and intentional and

 negligent misrepresentations of Defendants.



                                 COUNT 8
                        DEFENDANTS SCPLLC AND SAG
                     WRONGFUL DEATH – UT CODE § 78B-3-106


       348.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used in

Nebraska>.

       349.    Donald Gaudreault, Decedent, was exposed to paraquat sold and used in Indiana

that Defendants, Defendants’ corporate predecessors, and others with whom they acted in


                                               64
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 65 of 67 Page ID #65




concert designed, manufactured, distributed, and sold intending or expecting that it would be

sold and used in Nebraska.

       350.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to

which Donald Gaudreault, Decedent, was exposed was used in the intended and directed

manner or a reasonably foreseeable manner.

       351.    Donald Gaudreault, Decedent, was exposed to paraquat causing him to develop

neurological injuries consistent with PD causing his death. The death of Donald Gaudreault

was caused by the wrongful acts or omissions of defendants.

       352.    Janice Gaudreault, individually and as a Personal Representative of the Estate

of Donald Gaudreault, is the surviving heir of Donald Gaudreault, decedent, and is authorized

to bring an action for survival/wrongful death of Decedent, who used Defendants’ paraquat

products and was injured and died as a result.

       353.    The injuries and damages of Plaintiff Janice Gaudreault and Donald Gaudreault,

Decedent, were caused by the wrongful acts, omissions, and fraudulent misrepresentations of

Defendants.

       354.    As a result of the conduct of Defendants and exposure to Defendants’ product,

the Decedent suffered fatal injuries.

       355.    As a direct and proximate result of the wrongful conduct by SCPLLC, SAG,

and others with whom they acted in concert, Donald Gaudreault, Decedent, developed

neurological injuries consistent with PD; suffered severe and permanent physical pain, mental

anguish, disability, and death; suffered the loss of a normal life; lost income that he otherwise

would have earned; and incurred reasonable expenses for necessary medical treatment and

expenses related to death.




                                                 65
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 66 of 67 Page ID #66




       356.    As a result of the death of Donald Gaudreault, Decedent, Plaintiff Janice

Gaudreault is entitled to recovery for loss of love, companionship, comfort, support, affection,

society, solace, and moral support of Donald Gaudreault, Decedent, full value of the Donald

Gaudreault’s, life, and as further provided under applicable state law, including but not limited

to, Utah’s Wrongful Death Statute, UT Code § 78B-3-106.

       357.    Janice Gaudreault, individually and as a Personal Representative of the Estate

of Donald Gaudreault, is entitled to survival damages including lost earnings, loss of earning

capacity,   medical    and     funeral   expenses,   punitive   damages, Donald      Gaudreault,

Decedent, physical, mental and emotional pain and suffering, and as further provided under

applicable state law. Plaintiff Janice Gaudreault, individually and as a Personal Representative

of the Estate of Donald Gaudreault, is entitled to recover economic and non- economic damages

against Defendants for wrongful death directly and legally caused by the defects in Defendants’

paraquat and the negligent conduct, acts, errors, omissions, and intentional and negligent

misrepresentations of Defendants.

                                   PRAYER FOR RELIEF

       358.    As a result of the foregoing, Plaintiff Janice Gaudreault, individually and as a

 Personal Representative of the Estate of Donald Gaudreault, respectfully requests that this

 Court enterjudgment in their favor and against Defendants, jointly and severally:

            a. for compensatory damages in excess of $75,000, exclusive of interests and
               costs,

            b. Costs of suit

            c. Pre- and post-judgment interest and attorneys’ fees,

            d. Punitive damages: and

            e. Such further relief to which this Court deems just and proper under the
               circumstances.




                                               66
Case 3:24-pq-01529-NJR Document 1 Filed 06/18/24 Page 67 of 67 Page ID #67




                               DEMAND FOR JURY TRIAL

        359.    Pursuant to FED. R. CIV. P. 38(b), Plaintiff respectfully demands a jury trial on

all issues triable by jury.


Dated: June 18, 2024                   Respectfully submitted,

                                          By: /s/ Russell W. Lewis, IV
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                                               67
